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User davidgitman
Exported 1/7/2020, 8:45:00 AM

 

 

+ bagaiev.kostiantyn12/14/2017, 12:10:45 PM

I'm just surprized
¢ davidgitman12/14/2017, 12:10:38 PM
Working on motion to dissolve the company now.
* davidgitman12/14/2017, 12:10:16 PM
Doesn't matter anyway since you gave up on it.
- bagaiev.kostiantyn12/14/2017, 12:10:05 PM
This is forst time I hear about it. And I can't imagine that h ecan agree on this
¢ davidgitmani12/14/2017, 12:09:31 PM
Yes
+ bagaiev.kostiantyn12/13/2017, 12:38:49 PM
Is it true that Mike agreed on having 25% ?
+ bagaiev.kostiantyn12/13/2017, 12:22:29 PM
So you are going to trial ?
» davidgitmani2/13/2017, 11:33:09 AM
I'll email it to you now
+ bagaiev.kostiantyn12/13/2017, 11:31:25 AM

Hello. Dave, that doesn't give me any info.
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* davidgitman12/13/2017, 11:23:39 AM
FYI, counter claims were filed.

* bagaiev.kostiantyn12/11/2017, 8:25:30 AM

The only person suffered from this document is me. No idea why you blame me
for this

» davidgitmani2/11/2017, 8:21:04 AM

Case should be decided on February 12th. <e_m a="davidgitman"
ts_ms="1512997078610" ts="1512997078" t="61"></e_m>

* davidgitmani12/11/2017, 8:20:51 AM

Case is should be decided on February 12th. <e_m a="davidgitman"
ts_ms="1512997078610" ts="1512997078" t="61"></e_m>

« davidgitman12/11/2017, 8:20:40 AM

<e_m a="davidgitman" ts_ms="1512996999731" ts="1512996999"
t="61"></e_m>

. bagaiev.kostiantyn12/11/2017, 8:17:05 AM

So let's go back to my initial question. What better options I have?
« bagaiev.kostiantyn12/11/2017, 8:16:09 AM

I told you to sign off on Sep, after your email
+ bagaiev.kostiantyni12/11/2017, 8:15:53 AM

You can't protect me since June<e_m a="bagaiev.kostiantyn"
ts_ms="1512998146825" ts="1512998146" t="61"></e_m>

+ davidgitman12/11/2017, 8:15:51 AM
I'm signing off.
» davidgitman12/11/2017, 8:15:46 AM

Good luck
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+ bagaiev.kostiantyn12/11/2017, 8:15:46 AM
I can't protect me since June
» bagaiev.kostiantyn12/11/2017, 8:15:33 AM
I had such talks several times
- davidgitman12/11/2017, 8:15:33 AM
You acted on your own and I can’t protect you anymore.
¢ davidgitman12/11/2017, 8:15:20 AM
If you have concerns you could’ve called me. You know my phone number
» davidgitman12/11/2017, 8:14:55 AM
You got played as I said you would. Now there is going to be consequences
- bagaiev.kostiantyn12/11/2017, 8:14:52 AM
But you never explain me
+ bagaiev.kostiantyn12/11/2017, 8:14:39 AM
These are things that are good for CR
+ bagaiev.kostiantyn12/11/2017, 8:14:27 AM
Sometimes you say that I shouldn't do things
+ bagaiev.kostiantyn12/11/2017, 8:14:14 AM
I still have no idea
« bagaiev.kostiantyn12/11/2017, 8:14:10 AM
Dave. In June I asked you what strategy do you have.

« bagaiev.kostiantyn12/11/2017, 8:13:21 AM

Instead you talked to me your way. And now ask why I didn't call to say
hello<e_m a="bagaiev.kostiantyn" ts_ms="1512997995012" ts="1512997995"

t="61"></e_m>
Case 1:17-cv-04327-LLS-RWL Document 180-20 Filed 08/14/20 Page 4 of 146

\ . . .
' i

* davidgitman12/11/2017, 8:13:21 AM

I will send you that email where that was said.
+ bagaiev.kostiantyn12/11/2017, 8:13:15 AM

Instead you talked to me your way. And now ask why I didn't call to say hellp
+ bagaiev.kostiantyn12/11/2017, 8:12:55 AM

You know you could just tell me. &quot;Sorry K I'm not allowed to help&quot;

¢ davidgitmani12/11/2017, 8:12:45 AM

There are two roles in a LLC. A manager and an owner. I was removed as a
manager which means I am essentially a silent owner

» davidgitmani2/11/2017, 8:12:24 AM
Exactly
* bagaiev.kostiantyn12/11/2017, 8:12:00 AM
It is about managing.
+ davidgitman12/11/2017, 8:11:57 AM
Go ahead and ask him at and or read the first TRO document
+ davidgitmani2/11/2017, 8:11:43 AM

That's exactly what the TRO is. It is not my company. I am not a manager of the
company. I am not able to do anything for the companies. That is what Mike did

in filing the case. He remove me from the companies.
- bagaiev.kostiantyn12/11/2017, 8:11:17 AM

I can't imagine that can be not allowed to help to your own company.
+ bagaiev.kostiantyn12/11/2017, 8:11:02 AM

I didn't get last phrase

« davidgitmani2/11/2017, 8:10:38 AM
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ae,

I'm sorry you feel that way. But if I didn’t respond to Skype to executing
agreement like that seems like a very inconsistent retaliation

« bagaiev.kostiantyn12/11/2017, 8:10:32 AM
I don't have any other connections to you
* bagaiev.kostiantyn12/11/2017, 8:10:21 AM
I know that you can reply to email
* bagaiev.kostiantyni2/11/2017, 8:10:15 AM
Once I tried to reach you in Viber with no luck
° davidgitman12/11/2017, 8:10:14 AM
I was in no way ignoring you.

» davidgitman12/11/2017, 8:09:49 AM

I haven't signed onto Skype for a long time. I didn’t use it at all. You know that
and could’ve reached out to me on Viber or anything else

¢ davidgitmani2/11/2017, 8:09:30 AM
I’m on taking Shira to school but I will forward you the emails
« bagaiev.kostiantyn12/11/2017, 8:09:29 AM
And ignored me in skype
* bagaiev.kostiantyn12/11/2017, 8:09:23 AM
That's it
« bagaiev.kostiantyn12/11/2017, 8:09:20 AM
You told me that he has
« davidgitman12/11/2017, 8:09:11 AM
It's over. You made your decision.

+ bagaiev.kostiantyn12/11/2017, 8:09:11 AM
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I sent you another one, cause Mike didn't
+ bagaiev.kostiantyni2/11/2017, 8:09:01 AM
You wrote in email that Mike has access.
« davidgitman12/11/2017, 8:08:52 AM
I'll forward you the email.
- bagaiev.kostiantyn12/11/2017, 8:08:48 AM
I don't see any way it can be end up
+ davidgitman12/11/2017, 8:08:47 AM
That's what I wrote in email.
* bagaiev.kostiantyn12/11/2017, 8:08:31 AM
That is what you say NOW. but that time you just ignored.
¢ davidgitman12/11/2017, 8:08:01 AM
I did ignore you. I was acting by the judges orders.
. davidgitmani2/11/2017, 8:07:48 AM
This is two ways.
- bagaiev.kostiantyn12/11/2017, 8:07:48 AM
After your ignorance?
« davidgitman12/11/2017, 8:07:38 AM
Just to say hello.
* davidgitman12/11/2017, 8:07:34 AM
You could have called me.
° bagaiev.kostiantyn12/11/2017, 8:07:19 AM

You haven't told me a word last 1.5 months
Case 1:17-cv-04327-LLS-RWL Document 180-20 Filed 08/14/20 Page 7 of 146

+ bagaiev.kostiantyn12/11/2017, 8:07:08 AM

Just explain me what you expected? How did you expect to end up this?

* davidgitman12/11/2017, 8:06:58 AM

Because nobody in their right mind would sign an agreement like that

« bagaiev.kostiantyn12/11/2017, 8:06:37 AM

Why you always think that I don't understand something<e_m
a="bagaiev.kostiantyn" ts_ms="1512997590196" ts="1512997590"

t="61"></e_m>
« bagaiev.kostiantyn12/11/2017, 8:06:30 AM

Why you always thing that I don't understand something

* davidgitman12/11/2017, 8:06:19 AM

I told you should sign an agreement that would remove you from the case and
give you ownership. The document says everything but that and even gives Mike
power of attorney to make the decisions for you. I don’t think you understand
what you signed<e_m a="davidgitman" ts_ms="1512997542783"

ts="1512997542" t="61"></e_m>
« davidgitmani2/11/2017, 8:06:04 AM

I told you should sign an agreement that would remove you from the case and
give you ownership. The document says everything but that and even gives my
power of attorney to make the decisions for you. I don’t think you understand
what you signed<e_m a="davidgitman" ts_ms="1512997542783"
ts="1512997542" t="61"></e_m>

« davidgitman12/11/2017, 8:05:42 AM

I told you the signed agreement that would remove you from the case and give
you ownership. The document says everything but that and even gives my
power of attorney to make the decisions for you. I don’t think you understand

what you signed
+ bagaiev.kostiantyn12/11/2017, 8:05:41 AM

Right after we talked to your lawers
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aos,

- bagaiev.kostiantyn12/11/2017, 8:05:24 AM

You told me a month or more ago that I have to sign such document<e_m
a="bagaiev.kostiantyn" ts_ms="1512997517336" ts="1512997517"

t="61"></e_m>
- _bagaiev.kostiantyn12/11/2017, 8:05:17 AM

You told me a month or more ago that I have to sign such documetn
- bagaiev.kostiantyn12/11/2017, 8:05:05 AM

Lol

« davidgitman12/11/2017, 8:04:44 AM

Im asking the judge to dissolve CR and all other entities. It was worth saving
before you signed the papers. At this point I see no future in us working well
together and think everything should be dissolved

- bagaiev.kostiantyn12/11/2017, 8:04:22 AM
In May you told me that you don't do anything illegal, but you have TRO now
« bagaiev.kostiantyn12/11/2017, 8:04:01 AM
You told that the case will be stopped - it is not.
* bagaiev.kostiantyn12/11/2017, 8:03:45 AM
You never told me.
« davidgitman12/11/2017, 8:03:31 AM
I told you this is how it would play out.
« bagaiev.kostiantyn12/11/2017, 8:03:25 AM

Do my best for CR is to fuck you over?<e_m a="bagaiev.kostiantyn"
ts_ms="1512997401540" ts="1512997401" t="61"></e_m>

» bagaiev.kostiantyn12/11/2017, 8:03:21 AM

Do my bet for CR is to fuck you over?
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+ bagaiev.kostiantyn12/11/2017, 8:03:00 AM
<quote author="davidgitman" authorname="David Gitman"

timestamp="1512997252" conversation="8:davidgitman"
messageid="1512997252280"><legacyquote>[1512997252] David Gitman:

</legacyquote>Check your email. <legacyquote>

<<< </legacyquote></quote>There should be something new? Or check my
old emails? I don't have anything now

+ davidgitman12/11/2017, 8:02:57 AM
Why did you have to fuck me over?

« bagaiev.kostiantyn12/11/2017, 8:02:26 AM

Never mind. I'm tired of that. Do whatever you both want. I'll do my best for
CR<e_m a="bagaiev.kostiantyn" ts_ms="1512997340194" ts="1512997340"

t="61"></e_m>
- bagaiev.kostiantyn12/11/2017, 8:02:20 AM

Never mid. I'm tired of that. Do whatever you both want. I'll do my best for CR
¢ davidgitmani2/11/2017, 8:02:15 AM

Don’t you think I want to work on CR. <e_m a="davidgitman"
ts_ms="1512997321951" ts="1512997321" t="61"></e_m>

¢ davidgitman12/11/2017, 8:02:01 AM
Don’t you think I want to work in CR.

* davidgitman12/11/2017, 8:01:50 AM
Read the TRO.

* bagaiev.kostiantyn12/11/2017, 8:01:40 AM
I don't think that it is true.

* davidgitman12/11/2017, 8:01:29 AM

Iam not allowed to touch CR. <e_m a="davidgitman" ts_ms="1512997283236"
ts="1512997283" t="61"></e_m>
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)
,

¢ davidgitman12/11/2017, 8:01:23 AM
I am not allowed t touch CR.

« davidgitman12/11/2017, 8:01:14 AM
Yes, By court order.

+ bagaiev.kostiantyni2/11/2017, 8:01:06 AM
<quote author="davidgitman" authorname="David Gitman"
timestamp="1512997240" conversation="8;davidgitman"
messageid="1512997240185"><legacyquote>[1512997240] David Gitman:
</legacyquote>I am not allowed to do it. <legacyquote>
<<< </legacyquote></quote>Really?

¢ davidgitman12/11/2017, 8:00:52 AM
Check your email.

* davidgitman12/11/2017, 8:00:39 AM
I am not allowed to do it.

* davidgitmani2/11/2017, 8:00:32 AM

I didn’t ignore. I said mike has to do it.

+ bagaiev.kostiantyn12/11/2017, 8:00:06 AM

Dave, I asked you to enable higher level of support. We couldn't do that without
you. You ignored me in skype and in 2 emails.

* davidgitman12/11/2017, 7:59:53 AM
Check the documents that are filed tomorrow.

» bagaiev.kostiantyni12/11/2017, 7:59:33 AM

Mike promised me share, you promised me something. I don't care any more. If
I'll get fired - I'll start something for myself.

* davidgitman12/11/2017, 7:59:26 AM

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I didn’t ignore. With AWS the judge made me ensure mike had full access.
bagaiev.kostiantyn12/11/2017, 7:59:03 AM

When I asked for AWS help in skype you ignored.
davidgitmani2/11/2017, 7:58:46 AM

I am always replying to you.

bagaiev.kostiantyn12/11/2017, 7:58:26 AM

I had about 10 such dates, It is just another one

bagaiev.kostiantyn12/11/2017, 7:58:15 AM

You are not replying to me. You do your own things for your own reasons.

davidgitmani2/11/2017, 7:57:58 AM

Case is being decided on February 12th.
bagaiev.kostiantyn12/11/2017, 7:57:42 AM
Of course I did
bagaiev.kostiantyn12/11/2017, 7:57:37 AM
Dave you know me quite good
davidgitman12/11/2017, 7:57:07 AM

Do you even read the document?
davidgitman12/11/2017, 7:56:39 AM

Wait

bagaiev.kostiantyn12/11/2017, 7:56:10 AM
What other options I have?
davidgitman12/8/2017, 2:21:52 PM

SO you gave up on your ownership?

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+ bagaiev.kostiantyn11/8/2017, 9:19:44 AM

Can you help us. Looks like you have the only root account in our AWS, and we
need an upgrade of support plan.

» bagaiev.kostiantyn11/8/2017, 9:19:07 AM

Hi Dave.

« davidgitman10/5/2017, 12:09:53 PM

np
* bagaiev.kostiantyn10/5/2017, 12:07:07 PM

THanks
* davidgitman10/5/2017, 12:01:11 PM

Now
¢ bagaiev.kostiantyn10/5/2017, 12:00:32 PM

Dave, can you help me. 12 pm in NY is now or in your midnight ? <ss
type="smile">:)</ss>

» davidgitman10/5/2017, 9:20:38 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>530</duration>

</part>

<part identity="davidgitman" >
<name> David Gitman</name>
<duration>530</duration>

</part>

</partlist>

* davidgitman10/5/2017, 9:11:48 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn Bagaiev</name>
</part>
Case 1:17-cv-04327-LLS-RWL Document 180-20 Filed 08/14/20

i

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn10/5/2017, 9:11:39 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>15</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration> 15</duration>

</part>

</partlist>

bagaiev.kostiantyn10/5/2017, 9:11:24 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

davidgitman10/5/2017, 9:01:39 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration> 16</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>16</duration>

</part>

</partlist>

davidgitman10/5/2017, 9:01:24 AM

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<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

« bagaiev.kostiantyn10/5/2017, 8:17:00 AM
Ok
« davidgitman10/5/2017, 8:16:52 AM
I have no idea
» davidgitman10/5/2017, 8:16:45 AM
Great. I’m almost at my desk.
¢ bagaiev.kostiantyn10/5/2017, 8:16:45 AM
Can you give me any info of what do they want to clarify from us ?
» bagaiev.kostiantyn10/5/2017, 8:16:31 AM
Ok I’m ready.
+ davidgitman10/5/2017, 8:15:38 AM
Yes
« bagaiev.kostiantyn10/5/2017, 8:15:23 AM
Hi, the call is in 15 minutes right ?
+ davidgitman10/4/2017, 9:46:29 AM
<a
href="http://www.uberconference.com/dgitman">www.uberconference.com/dgit

man</a> | Dial in: 646-847-0026 | No PIN needed

+ davidgitman10/4/2017, 9:38:49 AM
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<partlist type="ended" alt="" callld="e89461a1 -f9e4-42c8-a5e6-
7551fc7fb24d"> <part identity="davidgitman"><name>David
Gitman</name> <duration>55.298</duration> < /part><part
identity="bagaiev.kostiantyn"> <name> Konstantyn
Bagaiev</name><duration>55,.298</duration> </part> </partlist>

* davidgitman10/4/2017, 9:37:53 AM

<partlist type="started" alt="" calllId="e89461a1-f9e4-42c8-a5e6-
755 1fc7fb24d"> <part identity="davidgitman"> <name> David

Gitman</name></part><part
identity="bagaiev.kostiantyn"><name>Konsta ntyn
Bagaiev</name> </part> </partlist>

+ davidgitman10/4/2017, 9:34:07 AM

<partlist type="ended" alt="" callld="e8d01051-8233-476a-84e7-

ff4c515958ad"><part identity="davidgitman"><name>David
Gitman</name> <duration>124.343</duration> </part><part

identity="bagaiev.kostiantyn"> <name>Konsta ntyn
Bagaiev</name> <duration>124.343</duration> </ part> </partlist>

* davidgitman10/4/2017, 9:32:02 AM

<partlist type="started" alt="" callId="e8d01051-8233-476a-84e7-
ff4c515958ad"><part identity="davidgitman"><name>David
Gitman</name> </part> <part
identity="bagaiev.kostiantyn"><name>Konsta ntyn
Bagaiev</name></part> </partlist>

* bagaiev.kostiantyn10/4/2017, 2:37:32 AM

Will go out in 15 minutes<e_m ts="1507099048" ts_ms="1507099049684"
a="bagaiev.kostiantyn" t="61"/>

* bagaiev.kostiantyn10/4/2017, 2:37:29 AM
Will go out in 15 minute
+ bagaiev.kostiantyn10/4/2017, 2:37:21 AM

I’m available now. And I'll be available in about 3 hours

» bagaiev.kostiantyn10/4/2017, 2:36:50 AM

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Yes sure.
« davidgitman10/3/2017, 6:31:37 PM
Can you call me when you have a moment?
¢ davidgitman10/3/2017, 6:31:29 PM
It’s hard to believe they are worse.
+ bagaiev.kostiantyn10/3/2017, 7:48:56 AM
Just awful
» davidgitman10/3/2017, 6:35:07 AM
The roads are worse?
+ bagaiev.kostiantyn10/3/2017, 6:16:58 AM

I’m under impression of bad roads<e_m ts="1507025810"
ts_ms="1507025812752" a="bagaiev.kostiantyn" t="61"/>

¢ bagaiev.kostiantyn10/3/2017, 6:16:52 AM
I’m under impression of bd roads

* davidgitman10/3/2017, 6:00:36 AM
How’s Kharkiv?

¢ davidgitman10/2/2017, 4:47:12 AM
IT want to add AJAX later today

« davidgitman10/2/2017, 4:47:04 AM

I’m building an notification app for Shira’s soccer team since the field location
changes last minute. <a
href="http://aysobluesharks.com/">http://aysobluesharks.com/</a>

* davidgitman10/2/2017, 4:17:39 AM

So you are on a soccer break now?

 
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davidgitman10/2/2017, 4:17:16 AM

I’m squirming.

davidgitman10/2/2017, 4:16:57 AM

Ouch

bagaiev.kostiantyn10/2/2017, 4:14:26 AM
Or not muscles, but someting else.
bagaiev.kostiantyn10/2/2017, 4:14:12 AM
I stretched muscles there too much
bagaiev.kostiantyn10/2/2017, 4:14:02 AM
Well it wasn't like that %)
davidgitman10/2/2017, 4:13:36 AM

That is a nice way of saying you got hit in the balls.
davidgitmani0/2/2017, 4:13:18 AM
Ouch!!!

bagaiev.kostiantyn10/2/2017, 4:00:27 AM

On 10/2/17, at 10:59 AM, David Gitman wrote:
> Again?

Last 2-3 years can’t play more than 4 months in a row
bagaiev.kostiantyn10/2/2017, 3:59:54 AM

“trauma to the groin”

davidgitman10/2/2017, 3:59:44 AM

K

bagaiev.kostiantyn10/2/2017, 3:59:40 AM

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—, os,
} j
i }

Using google to transalte
« davidgitman10/2/2017, 3:59:16 AM
What did you hurt?
» davidgitman10/2/2017, 3:59:00 AM
Again?
* bagaiev.kostiantyn10/2/2017, 3:58:56 AM
A week here then drive back to Zelenograd
* bagaiev.kostiantyn10/2/2017, 3:58:41 AM
Yes.
- bagaiev.kostiantyn10/2/2017, 3:58:37 AM
I have another soccer injury.
¢ davidgitmani10/2/2017, 3:58:24 AM
Did you see family?
» bagaiev.kostiantyn10/2/2017, 3:58:23 AM
He-he
» bagaiev.kostiantyn10/2/2017, 3:58:14 AM
Drove to Kharkiv
. davidgitman10/2/2017, 3:58:10 AM
Shira started playing soccer. Games are mostly at 8am on Saturday and Sunday
« bagaiev.kostiantyn10/2/2017, 3:58:08 AM
I did
¢ davidgitman10/2/2017, 3:57:50 AM

Hope you had a good weekend
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* davidgitman10/2/2017, 3:56:43 AM
Thanks for confirming,

* davidgitman10/2/2017, 3:55:50 AM
I know

: bagaiev.kostiantyn10/2/2017, 3:24:51 AM

2 months ago Mike wanted me to sign such agreement, but I declined this and
didn’t sign it.

- bagaiev.kostiantyn10/2/2017, 3:22:00 AM
I've signed it, but never sent my signature to Mike.

« bagaiev.kostiantyn10/2/2017, 3:21:29 AM

Dave, I’ve explained you before about the agreement, which I needed for my
bank

+ bagaiev.kostiantyn10/2/2017, 3:19:00 AM
Hi, checking
« davidgitman10/2/2017, 3:08:55 AM
Hey. Can you check my email when you have a moment
* davidgitman9/28/2017, 8:08:16 AM
Techcrunch is one of the most respected places to get valuation of information
+ bagaiev.kostiantyn9/28/2017, 8:07:28 AM
Another one gives 600k total <ss type="sad">:(</ss> <a

href="http://fitsmallbusiness.com/business-valuation-
calculator, ">http://fitsmallbusiness.com/business-valuation-calculator/</a> but

it doesn’t include that we are growing.
» bagaiev.kostiantyn9/28/2017, 7:58:32 AM

And we are growing.

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* bagaiev.kostiantyn9/28/2017, 7:58:25 AM

Net income.
* davidgitman9/28/2017, 7:58:16 AM

<a href="https://techcrunch.com/2016/10/07/determining-the-worth-of-your-
Saas-company/">https://techcrunch.com/2016/10/07/determining-the-worth-of-

your-Saas-company/</a>
+ bagaiev.kostiantyn9/28/2017, 7:58:16 AM

Let's say 20k$ net income every month. That means 240k$ per year.
* davidgitman9/28/2017, 7:58:05 AM

Also this
¢ bagaiev.kostiantyn9/28/2017, 7:57:46 AM

2 calculators give more than 4 million <a
href="https://www.fool.com/careers/2017/06/16/how-much-is-my-business-
worth.aspx#results">https://www.fool.com/careers/2017/06/16/how-much-is-
my-business-worth.aspx#results</a> <a
href="https://www.calcxml.com/calculators/business-
valuation">https://www.calcxml.com/calculators/business-valuation</a>

* davidgitman9/27/2017, 5:47:04 PM

I just listened. It stopped recording at 30min. I don’t have I Mike saying he will
never give you any ownership. However, I will try to get that in email as we will
be asking for it in a settlement offer.

» bagaiev.kostiantyn9/27/2017, 5:33:00 PM
Dave, please drop me a recording

* davidgitman9/27/2017, 5:24:53 PM

<partlist type="ended" alt="" callld="ea57aa0d-ee75-4224-b6a8-

e8bfc751f80a"><part identity="davidgitman"><name>David
Gitman</name> <duration>1358.949</duration> </part><part

identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>1358.949</duration> </part> </partlist>

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davidgitman9/27/2017, 5:02:14 PM

<partlist type="started" alt="" callld="ea57aa0d-ee75-4224-b6a8-
e8bfc751f80a"><part identity="davidgitman"> <name> David
Gitman</name> </part> <part

identity="bagaiev.kostiantyn" ><name>Konstantyn
Bagaiev</name> </part> </partlist>
davidgitman9/27/2017, 5:01:55 PM

Yes. On mobile.

bagaiev.kostiantyn9/27/2017, 4:55:37 PM

Can you send me recording?
bagaiev.kostiantyn9/27/2017, 4:52:11 PM

No problem lol <ss type="smile">:)</ss>
davidgitman9/27/2017, 4:51:55 PM

I’m sick and sound like shit
bagaiev.kostiantyn9/27/2017, 4:51:52 PM

Ok.

davidgitman9/27/2017, 4:51:45 PM

Ican call you.

davidgitman9/27/2017, 4:51:24 PM

We would have had a deal if it wasn’t for your ownership.
bagaiev.kostiantyn9/27/2017, 4:43:17 PM

Can we talk?

bagaiev.kostiantyn9/27/2017, 4:42:17 PM

What do you think ?

bagaiev.kostiantyn9/27/2017, 4:42:10 PM

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That means that Mike should start conversation about that with me

bagaiev.kostiantyn9/27/2017, 4:41:33 PM

So basically I understand why you need this.<e_m ts="1506544874"
ts_ms="1506544875086" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn9/27/2017, 4:41:23 PM

I want to hear Mike’s opinion
bagaiev.kostiantyn9/27/2017, 4:41:15 PM
So basically I understand ehy you need this.

bagaiev.kostiantyn9/27/2017, 4:40:50 PM

I was promised by both you and Mike that I have equity. I want to hear both,
your and Mike reasons to sign such agreement

davidgitman9/27/2017, 4:39:16 PM

I said that’s crazy.

davidgitman9/27/2017, 4:39:06 PM

They think you will since you went back to work.
davidgitman9/27/2017, 4:38:46 PM

And I would not be able to compete with CR.
bagaiev.kostiantyn9/27/2017, 4:38:43 PM

Why should I do this ?

davidgitman9/27/2017, 4:38:14 PM

Also they mentioned I would have to help get you to sign an agreement with CR
for no equity.

bagaiev.kostiantyn9/27/2017, 4:37:58 PM

I’m here

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* davidgitman9/27/2017, 4:37:52 PM
Judge feels that we are too far apart
« davidgitman9/27/2017, 4:37:37 PM
Just walking out.
- bagaiev.kostiantyn9/27/2017, 1:56:09 PM
Ok
» davidgitman9/27/2017, 1:56:01 PM
I need to shut off my phone as we meet again at 2pm. Talk later.
* davidgitman9/27/2017, 1:54:20 PM
Thank you again.
« bagaiev.kostiantyn9/27/2017, 1:53:24 PM
You should have access here <a
href="https://docs.google.com/spreadsheets/d/1kZPo9_ZMjiAJAm_OzLoACum_Uj
OhzRGmluDPILYVHoA/edit#gid=0" >https://docs.google.com/spreadsheets/d/1kZ
Po9_ZMjiAJAm_OzLoACum_UjOhzRGmluDPILYvHoA/edit#gid=0</a>
+ bagaiev.kostiantyn9/27/2017, 1:52:55 PM
I was right at first. Forgot about Paypal customers
+ davidgitman9/27/2017, 1:52:49 PM
Perfect.
- bagaiev.kostiantyn9/27/2017, 1:52:39 PM
35k in august
+ davidgitman9/27/2017, 1:52:37 PM
Yes

- bagaiev.kostiantyn9/27/2017, 1:52:35 PM

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I

Just checked
bagaiev.kostiantyn9/27/2017, 1:52:31 PM
Dave

bagaiev.kostiantyn9/27/2017, 1:52:12 PM
And we make about 2k more every month
davidgitman9/27/2017, 1:52:06 PM
Thank you.

bagaiev.kostiantyn9/27/2017, 1:50:55 PM
And it was about 34 on July
bagaiev.kostiantyn9/27/2017, 1:50:43 PM
$28.73K this month (will more till 30th of Sep)
davidgitman9/27/2017, 1:50:25 PM

Oh?

bagaiev.kostiantyn9/27/2017, 1:50:26 PM
$32.59K last month
bagaiev.kostiantyn9/27/2017, 1:50:15 PM
Sorry wrong info.

davidgitman9/27/2017, 1:49:38 PM

35 right now?
bagaiev.kostiantyn9/27/2017, 1:49:39 PM

Can be more if include lawyers fees<e_m ts="1506534574"
ts_ms="1506534575000" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn9/27/2017, 1:49:34 PM

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Can be more if include lawyers
bagaiev.kostiantyn9/27/2017, 1:49:10 PM
I think around 15k¢
bagaiev.kostiantyn9/27/2017, 1:48:47 PM
I don't know about expenses
bagaiev.kostiantyn9/27/2017, 1:48:40 PM
34-35 - depending on yearly sign ups.
bagaiev.kostiantyn9/27/2017, 1:48:20 PM
Currently total income 35k$
davidgitman9/27/2017, 1:48:02 PM

Also how much do you think CR makes every month?
bagaiev.kostiantyn9/27/2017, 1:47:50 PM
I'd like to hear it.

davidgitman9/27/2017, 1:47:38 PM

I will send you the recording.
bagaiev.kostiantyn9/27/2017, 1:47:36 PM
I see

davidgitman9/27/2017, 1:47:27 PM

Judge allowed me to have it to bring up papers about settlement.

davidgitman9/27/2017, 1:47:06 PM
I recorded michale saying he will never give you any ownership.
bagaiev.kostiantyn9/27/2017, 1:47:06 PM

Lol. Don’t be banned because of that <ss type="smile">:)</ss>

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davidgitman9/27/2017, 1:46:45 PM

I was able to get my phone into court room.
davidgitman9/27/2017, 1:46:33 PM

Great great news.
bagaiev.kostiantyn9/27/2017, 1:46:23 PM

I see. Good news

davidgitman9/27/2017, 1:46:12 PM

I only have a few minutes.
davidgitman9/27/2017, 1:46:06 PM

So a few things.

davidgitman9/27/2017, 1:45:55 PM

This is the first time they would talk about settling. Otherwise they would have
looked bad in front of judge and he would have put restrictions on Michael.

bagaiev.kostiantyn9/27/2017, 1:45:05 PM

Hope you'll settle <ss type="smile">:)</ss>
bagaiev.kostiantyn9/27/2017, 1:44:56 PM

I see

davidgitman9/27/2017, 1:44:51 PM

We are on a quick break.

davidgitman9/27/2017, 1:44:42 PM

The judge said I'm in compliance and is trying to get the case settled.
davidgitman9/27/2017, 1:44:14 PM

It was supposed to be an appearance for compliance.

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nt

» bagaiev.kostiantyn9/27/2017, 1:44:09 PM
Or will be there? <ss type="smile">:)</ss>
« bagaiev.kostiantyn9/27/2017, 1:44:02 PM
Were, or there right now?
+ davidgitman9/27/2017, 1:43:30 PM
So we're in court today.
« bagaiev.kostiantyn9/27/2017, 1:42:51 PM
Hi, yes
» davidgitman9/27/2017, 1:42:41 PM
Hey. You up?
« davidgitman9/25/2017, 12:35:59 PM
Thx
¢ bagaiev.kostiantyn9/25/2017, 12:33:29 PM
Take care of yourself
« bagaiev.kostiantyn9/25/2017, 12:33:18 PM
Yes sure
« davidgitman9/25/2017, 12:29:40 PM
I’m sick in bed with a fever. Can I check this for you a little later?
* bagaiev.kostiantyn9/25/2017, 9:56:51 AM

<a
href="https://monosnap.com/file/xhKldAsWnqvZcHOGHdOvj2QekfEILA">https://

monosnap.com/file/xhKldAsWnqvZcHOGHdOvj2QekfEILA</a> This is what I see
after I’m logging in

« bagaiev.kostiantyn9/25/2017, 9:56:36 AM
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on

Hi Dave. Can you help me to login to “channelreply” eBay account that you
created for us

davidgitman9/20/2017, 2:21:10 PM

<partlist type="ended" alt="" callId="76402ef5-00cd-48d8-b20b-
67fd77f7c5fa"><part identity="davidgitman"><name>David
Gitman</name><duration>332.904</duration> </part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>332.904</duration> </part> </partlist>

davidgitman9/20/2017, 2:15:37 PM

<partlist type="started" alt="" callld="76402ef5-00cd-48d8-b20b-
67fd77f7cSfa"><part identity="davidgitman"><name>David
Gitman</name> </part><part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name></part> </partlist>

bagaiev.kostiantyn9/20/2017, 2:15:25 PM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

bagaiev.kostiantyn9/20/2017, 2:15:25 PM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

davidgitman9/20/2017, 2:15:18 PM

<URIObject type="Audio.1/Message. 1"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d3-
69cc255adc6790a824440a3ca7ab5ac6/views/thumbnail"
uri="https://api.asm.skype.com/v1/objects/0-eus-d3-
69cc255adc6790a824440a3ca7ab5ac6">

<Title>Voicemail</Title>

<a href="https://login.skype.com/login/sso?go=webclient.xmm&am=0-eus-d3-
69cc255adc6790a824440a3ca7ab5ac6" >Play </a>

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<OriginalName v="voicemail.wav" />
</URIObject>

davidgitman9/20/2017, 2:15:14 PM

<partlist type="missed" alt="" calllId="eca60042-62b6-46e6-9129-
900fead771d7"><part identity="davidgitman"> <name>David
Gitman</name> <duration>10.927</duration> </part> <part
identity="bagaiev.kostiantyn"> <name>Konstantyn
Bagaiev</name><duration> 10.927</duration> </part> </partlist>

davidgitman9/20/2017, 2:15:04 PM

<partlist type="started" alt="" callId="eca60042-62b6-46e6-9129-
900fead771d7"><part identity="davidgitman"> <name> David
Gitman</name></part><part

identity="bagaiev.kostiantyn"> <name>Konstantyn
Bagaiev</name></part> </partlist>
davidgitman9/20/2017, 2:14:29 PM

I'm asleep at 9pm <ss type="smile">:)</ss>
davidgitman9/20/2017, 2:14:02 PM

Can I call?

bagaiev.kostiantyn9/20/2017, 2:14:07 PM
Yes. It is only 9 p.m. here
davidgitman9/20/2017, 2:13:52 PM

Still up?

bagaiev.kostiantyn9/20/2017, 2:13:50 PM

Hi

davidgitman9/20/2017, 2:13:31 PM

Hey

bagaiev.kostiantyn9/20/2017, 12:19:34 PM

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Hi Dave. Looks like you have removed Viber <ss type="smile">:)</ss>
davidgitman7/4/2017, 11:04:25 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>3014</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>3014</duration>

</part>

</partlist>

bagaiev.kostiantyn7/4/2017, 11:00:36 AM
However, it can be in Bank of America

bagaiev.kostiantyn7/4/2017, 11:00:13 AM

<a
href="https://monosnap.com/file/LA7NM18GV0e27vVLsEOVnRIEWOAuS3">https:

//monosnap.com/file/LA7NM18GV0e27vVLSEOVnRIEWOAUS)</a>
bagaiev.kostiantyn7/4/2017, 10:55:56 AM

<a
href="https://channelreply.chargebee.com/subscriptions/372535 1/details">https

://channelreply.chargebee.com/subscriptions/3725351/details</a> this customer
(Paypal) paid with some wire transfer. Mike could charge him more than yearly
Enterprise costs (1908$). And I don’t have any report about that. Mike just
mentioned In January or February that they paid him directly. His userId in our

system is 1125.
bagaiev.kostiantyn7/4/2017, 10:25:02 AM

<a href="https://stackoverflow.com/questions/5740894/give-name-to-table-
after-select">https://stackoverflow.com/questions/5740894/give-name-to-table-

after-select</a>
bagaiev.kostiantyn7/4/2017, 10:24:47 AM

WITH NewTableName AS (
SELECT *

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}

FROM ContentReportRequests a,UserPreferences d
WHERE a.UserID = d.UserID and a.ID =@ID

)
SELECT * from NewTableName

bagaiev.kostiantyn7/4/2017, 10:24:23 AM

SELECT * into NewTableName
FROM ContentReportRequests a,UserPreferences d
WHERE a.UserID = d.UserID and a.ID =@ID

davidgitman7/4/2017, 10:14:13 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn7/4/2017, 10:13:09 AM
I’m ready

bagaiev.kostiantyn7/4/2017, 10:12:46 AM
Can be on my side too
bagaiev.kostiantyn7/4/2017, 10:12:41 AM
I'll restart it too

davidgitman7/4/2017, 10:12:34 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>30</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>30</duration>

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i

</part>
</partlist>

davidgitman7/4/2017, 10:12:05 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn7/4/2017, 10:11:40 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
</part>

</partlist>

bagaiev.kostiantyn7/4/2017, 10:11:39 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
</part>

</partlist>

davidgitman6/28/2017, 12:58:19 PM

Butt dial
davidgitman6/28/2017, 12:48:46 PM

<partlist type="missed" alt="" callld="e8b473b4-baf4-42f8-a26f-
Of96b43e70c4"><part identity="davidgitman"> <name> David
Gitman</name> </part><part

identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name></part> </partlist>
bagaiev.kostiantyn6/28/2017, 12:48:55 PM

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woe,

davidgitman6/28/2017, 12:23:02 PM

<partlist type="ended" alt="" callld="5c67b37a-4808-47bc-b2e6-
478b1916157d"><part identity="davidgitman"><name>David
Gitman</name><duration>310.094</duration> </part> <part
identity="bagaiev.kostiantyn"><na me>Konstantyn
Bagaiev</name> <duration>310.094</duration> </part> </partlist>

davidgitman6/28/2017, 12:17:52 PM

<partlist type="started” alt="" callld="5c67b37a-4808-47bc-b2e6-
478b1916157d"><part identity="davidgitman"> <name> David
Gitman</name> </part><part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name></part> </partlist>

davidgitman6/28/2017, 12:17:36 PM

<partlist type="ended" alt="" callld="324bdcb0-c155-44ff-9bf4-
5d23a64baidf"><part identity="davidgitman"> <name> David
Gitman</name> <duration>2.767</duration> </part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>2.767</duration> </part> </partlist>

davidgitman6/28/2017, 12:17:33 PM

<partlist type="started" alt="" calllId="324bdcb0-c155-44ff-9bf4-
5d23a64baidf'><part identity="davidgitman"> <name> David
Gitman</name> </part><part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name></part></partlist>

davidgitman6/24/2017, 6:14:08 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration> 1299</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>1299</duration>

</part>

</partlist>

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davidgitman6/24/2017, 5:52:30 AM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn6/22/2017, 10:30:34 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration> 510</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>510</duration>

</part>

</partlist>

bagaiev.kostiantyn6/22/2017, 10:22:04 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn6/22/2017, 10:21:52 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
<duration>35</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>

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wt
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<duration>35</duration>
</part>
</partlist>

» bagaiev.kostiantyn6/22/2017, 10:21:17 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

« davidgitman6/20/2017, 5:46:17 PM

The lawyers want it to come from you not them. Otherwise Mike might argue
that we are conspiring

* davidgitman6/20/2017, 5:45:10 PM
Yes.

° bagaiev.kostiantyn6/20/2017, 5:44:27 PM
I need to send email to Mike?

+ davidgitman6/20/2017, 3:37:32 PM

Lindsay asked me to send you an email to send mike the resignation letter.<e_m
ts="1497987443" ts_ms="1497987444746" a="davidgitman" t="61"/>

« davidgitman6/20/2017, 3:37:24 PM

Lindsay asked me to send you an email to send mike the resignation letter

« davidgitman6/20/2017, 1:48:53 PM
<e_m ts="1497958684" ts_ms="1497958685000" a="davidgitman" t="61"/>

+ davidgitman6/20/2017, 1:48:48 PM
<e_m ts="1497958673" ts_ms="1497958674000" a="davidgitman" t="61"/>

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* davidgitman6/20/2017, 1:48:39 PM
<e_m ts="1497958652" ts_ms="1497958656000" a="davidgitman" t="61"/>

« davidgitman6/20/2017, 7:45:33 AM

If you make a Google doc and share it with me I'll be happy to help edit it
« davidgitman6/20/2017, 7:38:05 AM

<a
href="https://www.google.com/search?rlz=1CDGOYI_enUS736US736&hl=en-

US&ei=6gh]WeuWMMTI-
QG2xKC4Aw&q=resignation+letter+template&oq=resignation+letter-+template&
gs_!=mobile-gws-

serp.3..0i71k115.0.0.0.5354.1.1.0.0.0.0.0.0..0.0....0...1..64. mobile-gws-
serp..1.0.0.LpZvurGirt0">https://www.google.com/search?rlz=1CDGOYI_enUS73
6US736&hl=en-US&ei=6ghJWeuWMMTI-

QG2xKC4AW&q=resignation+ letter +template&oq=resignation+letter-+template&
gs_!=mobile-qws-
serp.3..0/71k115.0.0.0.5354.1.1.0.0.0.0.0.0..0.0....0...1..64.mobile-gws-
serp..1.0.0.LpZvurGirt0</a>

* davidgitman6/20/2017, 7:37:54 AM
Please use one of these.
* davidgitman6/20/2017, 10:12:05 AM
<e_m ts="1497967904" ts_ms="1497967906362" a="davidgitman" t="61"/>

* davidgitman6/20/2017, 10:11:46 AM

<pre raw_pre=""**" raw_post=""* *">Dear David,

This is a reminder that &quot;Magento 2.2 Webinar for Developers&quot; will
begin in 1 Hour on:

Tue, Jun 20, 2017 8:00 AM - 9:00 AM PDT

Add to Calendar: Outlook® Calendar | Google Calendar&#8482 | iCal®

Please send your questions, comments and feedback to: dsacco@magento.com
We are approaching maximum capacity for the webinar and it is possible that we
may not be able to accommodate everyone who wishes to attend the live
session. Everyone who registers for the webinar will receive an email with a link
to the recording, so you will be able to access this content no matter how many
people choose to attend the webinar.

How to Join the Webinar

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1. Click the link to join the webinar at the specified time and date:
https://global.gotowebinar.com/join/2838056498257543169/973988893

Note: This link should not be shared with others; it is unique to you.

Before joining, be sure to check system requirements to avoid any connection
issues,

2. Choose one of the following audio options:

TO USE YOUR COMPUTER'S AUDIO:
When the webinar begins, you will be connected to audio using your computer's

microphone and speakers (VoIP). A headset is recommended.

--OR--
TO USE YOUR TELEPHONE:
If you prefer to use your phone, you must select &quot;Use Telephone&quot;

after joining the webinar and call in using the numbers below.
United States: +1 (914) 614-3221

Access Code: 892-159-527

Audio PIN: Shown after joining the webinar

Webinar ID: 635-166-355

To Cancel this Registration

If you can't attend this webinar, you may cancel your registration at any
time.</pre>
* davidgitman6/20/2017, 10:11:41 AM
Of course
* bagaiev.kostiantyn6/20/2017, 10:11:34 AM
Not sure what can I add or change. Probably you should show this to dentons
+ davidgitman6/20/2017, 10:09:31 AM
Can you review this? <a
href="https://docs.google.com/document/d/1dkw6F1RpEM9n6A7JfbZOioie-

iAfnSbWMp9DzKkB_XI/edit">https://docs.google.com/document/d/1 dkw6F1iRpE
M9n6A7JfbZ0ioie-iAfnSbWMp9DzKkB_XI/edit</a>

+ davidgitman6/20/2017, 9:39:12 AM

One moemtn
» bagaiev.kostiantyn6/20/2017, 9:36:44 AM

Aleksey shraed his documetn with you

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davidgitman6/20/2017, 9:13:12 AM

<URIObject type="File.1" uri="https://api.asm.skype.com/v1/objects/0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466/views/thumbnail" ams_id="0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466" > <Title>KonstantynBagaevResignationLet
ter.pdf</Title> received. To view it, go to: <a
href="https://login.skype.com/login/sso?go=xmmfallback&docid=0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466" >https://login.skype.com/login/sso?go=x
mmfallback&docid=0-eus-d1-2a233feb64ca7f8a7d50bfb37dc2a466 </a> <FileSize
v="43579" /><OriginalName v="KonstantynBagaevResignationLetter.pdf"

/></URIObject>
davidgitman6/20/2017, 8:51:35 AM

Can you check my suggestions?
bagaiev.kostiantyn6/20/2017, 8:15:17 AM

Need to add company credentials. And general review
bagaiev.kostiantyn6/20/2017, 7:34:55 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>518</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>518</duration>

</part>

</partlist>

bagaiev.kostiantyn6/20/2017, 7:26:18 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>518</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>518</duration>

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</part>
</partlist>

+ bagaiev.kostiantyn6/20/2017, 7:02:39 AM
Wanted to talk to you.

» bagaiev.kostiantyn6/20/2017, 7:02:20 AM
Don’t know what to do.

« bagaiev.kostiantyn6/20/2017, 7:01:54 AM

Hello. Yes you mentioned before<e_m ts="1497956536"
ts_ms="1497956514764" a="bagaiev.kostiantyn" t="61"/>

« davidgitman6/20/2017, 6:18:01 AM
How's your day going?

* bagaiev.kostiantyn6/20/2017, 7:01:54 AM
Hello. Yes you mentioned before

° bagaiev.kostiantyn6/19/2017, 5:11:01 PM
I understood everything.

» bagaiev.kostiantyn6/19/2017, 5:08:30 PM
we can talk later with better connection

° bagaiev.kostiantyn6/19/2017, 5:06:05 PM
Judge ordered to return everything

« bagaiev.kostiantyn6/19/2017, 5:05:56 PM
Jost sound

* davidgitman6/19/2017, 5:57:58 PM
Please clear txt conversion

+ davidgitman6/19/2017, 5:57:58 PM

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Please clear txt conversion
davidgitman6/19/2017, 5:58:13 PM
Please clear txt conversion
davidgitman6/19/2017, 5:06:30 PM

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

davidgitman6/19/2017, 5:06:15 PM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

davidgitman6/19/2017, 5:04:53 PM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn6/19/2017, 2:58:54 PM
ok
davidgitman6/19/2017, 2:58:46 PM

I can't take my phone into the court room. Talk later.

davidgitman6/19/2017, 2:48:52 PM

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Thx.
bagaiev.kostiantyn6/19/2017, 2:48:41 PM
Deal with case first
bagaiev.kostiantyn6/19/2017, 2:48:28 PM
No rush

davidgitman6/19/2017, 2:48:20 PM

We will fix wire tomorrow.
davidgitman6/19/2017, 2:46:43 PM

I'll keep you posted.
bagaiev.kostiantyn6/19/2017, 2:46:24 PM
Waiting for results.
bagaiev.kostiantyn6/19/2017, 2:46:16 PM
I'm here

bagaiev.kostiantyn6/19/2017, 2:46:12 PM
I

davidgitman6/19/2017, 2:46:02 PM

I believe we will come out well.
bagaiev.kostiantyn6/19/2017, 2:45:45 PM
I’m always for the truth
bagaiev.kostiantyn6/19/2017, 2:45:17 PM
Of course

davidgitman6/19/2017, 2:45:05 PM

I will tell the judge the truth.

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bagaiev.kostiantyn6/ 19/2017, 2:44:52 PM
Ok. Good luck. Kick their ass.
davidgitman6/19/2017, 2:44:27 PM

I'm on the way to the judge now.
bagaiev.kostiantyn6/19/2017, 2:38:05 PM
By the way - I received Payoneer payment
bagaiev.kostiantyn6/19/2017, 2:35:40 PM
Checking. When you go to judge?
davidgitman6/19/2017, 2:34:41 PM

Brian did an amazing job.
davidgitman6/19/2017, 2:34:26 PM

I sent you the affidavit
davidgitman6/19/2017, 1:43:19 PM

Yhx

bagaiev.kostiantyn6/19/2017, 1:43:18 PM
End of march probably
bagaiev.kostiantyn6/19/2017, 1:43:14 PM
2 years ago.

davidgitman6/19/2017, 1:17:26 PM

When did Aleksey start with us?
bagaiev.kostiantyn6/19/2017, 1:15:36 PM
Let me know if some screenshots are needed

bagaiev.kostiantyn6/19/2017, 11:44:32 AM

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Is he really involved into documents? I’m nervous again. Don’t see how else can
I help

+ bagaiev.kostiantyn6/19/2017, 11:43:43 AM
Ok. You are doing this together right? How do you feel about that
+ davidgitman6/19/2017, 11:43:15 AM

<e_m ts="1497886609" ts_ms="1497886612239" a="davidgitman" t="61"/>

« davidgitman6/19/2017, 11:43:11 AM
<e_m ts="1497886596" ts_ms="1497886597411" a="davidgitman" t="61"/>

« davidgitman6/19/2017, 11:43:07 AM
<e_m ts="1497886584" ts_ms="1497886584927" a="davidgitman" t="61"/>

« davidgitman6/19/2017, 11:43:03 AM

In a conference room at Dentons. Brian is working on the case now. He's asking
me a lot of great questions. Dentons just asked the judge for two more hour to
file the papers. Brian wants to refine Lindsay‘s work and the overall strategy.

* davidgitman6/19/2017, 11:37:24 AM

Dentons asked the judge for two more hour to file the papers<e_m
ts="1497886596" ts_ms="1497886597411" a="davidgitman" t="61"/>

¢ davidgitman6/19/2017, 11:37:11 AM

Brian is working on the case now. He’s asking me a lot of questions.<e_m
ts="1497886584" ts_ms="1497886584927" a="davidgitman" t="61"/>

¢ davidgitman6/19/2017, 11:36:52 AM
Brian wants to refine Lindsays work.

* davidgitman6/19/2017, 11:36:37 AM

They just asked the judge for two more hour to file the papers

+ davidgitman6/19/2017, 11:36:24 AM

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Brian is working on the case now

. bagaiev.kostiantyn6/19/2017, 10:57:28 AM
Nice

* davidgitman6/19/2017, 10:53:21 AM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-cus-
d2-ec77ce27a4ac0a52cl 16d9c1d4345575"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-cus-d2-
ec77ce27a4ac0a52c1 16d9c1d4345575/views/imgti"><Title></Title>

This version of Skype does not support photo Sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-cus-d2-
ec/7ce27a4ac0a52c1 16d9c1d4345575">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-cus-d2-ec77ce27a4ac0a52c116d9c1d4345575</a><FileSize
v="2773606" /><OriginalName v="SkypePhoto_20170619_10_53_19.jpg"
/><meta type="photo" originalName="SkypePhoto_20170619_10_53_19.jpg"

/></URIObject>
* davidgitman6/19/2017, 10:53:05 AM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-cus-
d2-d9701ded6074b783f51f4d7d8b4d81fe"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-cus-d2-
d9701ded6074b783f51f4d7d8b4d8 1fe/views/imgt1"><Title></Title>

This version of Skype does not support photo sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-cus-d2-
d9701ded6074b783f5 1f4d7d8b4d8 1fe">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-cus-d2-d9701ded6074b783f5 1f4d7d8b4d81fe</a> <FileSize
v="1412616" /><OriginalName v="SkypePhoto_20170619_10_53_04.jpg"
/><meta type="photo" originalName="SkypePhoto_20170619_10_53_04.jpg"

/></URIObject>

+ davidgitman6/19/2017, 7:54:48 AM

Thank you.

- bagaiev.kostiantyn6/19/2017, 7:53:55 AM

Ok
« davidgitman6/19/2017, 7:53:38 AM

4A
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Can you try to edit your comments and assign them to
@lindsay.ditlow@dentons.com

bagaiev.kostiantyn6/19/2017, 7:53:11 AM
Ok .
davidgitman6/19/2017, 7:53:03 AM

Start the comment with an @
bagaiev.kostiantyn6/19/2017, 7:52:34 AM

No idea

davidgitman6/19/2017, 7:49:08 AM

Do you know how to assign g doc comments to someone?
davidgitman6/19/2017, 7:41:35 AM

Great

bagaiev.kostiantyn6/19/2017, 7:39:40 AM

Y I'm doing comments.
davidgitman6/19/2017, 7:38:48 AM

I marked it up.

davidgitman6/19/2017, 7:30:32 AM

Never mind you added comments. I see them

davidgitman6/19/2017, 7:29:52 AM

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I don't see any suggested changes in the affidavit. Did you make some
changes?<e_m ts="1497871781" ts_ms="1497871781355" a="davidgitman"

t="61"/>
davidgitman6/19/2017, 7:29:41 AM

I don't see any suggested changes in the affidavit

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* bagaiev.kostiantyn6/19/2017, 6:44:58 AM
Ok. GL
« davidgitman6/19/2017, 6:44:26 AM
I need to shower and take Shira to school. I'll message as I can.

- bagaiev.kostiantyn6/19/2017, 6:44:18 AM

Yes. Today in the morning looks much better. Just check spelling of My and
Aleksey’s name <ss type="smile">:)</ss>

» davidgitman6/19/2017, 6:43:45 AM
The updated affidavit is good.
* bagaiev.kostiantyn6/19/2017, 6:43:21 AM

Maybe it is possible to sue Mike separately. Later, after the deal is done, and
divorce is finished. Maybe with another lawyer. We can think of that later.

+ davidgitman6/19/2017, 6:43:14 AM

I hope to tell the judge today that Mike only brought this suit to bring more
money from BAP

+ davidgitman6/19/2017, 6:42:50 AM
I'm worried about that

« davidgitman6/19/2017, 6:42:35 AM
I know

« bagaiev.kostiantyn6/19/2017, 6:42:27 AM
Don’t play with BAP

» bagaiev.kostiantyn6/19/2017, 6:42:21 AM
Got that.

» davidgitman6/19/2017, 6:42:10 AM

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Since there is no operating agreement for CSV or CR maybe we can.
davidgitman6/19/2017, 6:41:46 AM
However.

davidgitman6/19/2017, 6:41:43 AM

The NDAP operating agreement has a clause that prevents us from going after
lawyer fees,

bagaiev.kostiantyn6/19/2017, 6:41:24 AM
I know. Dave. I’m trying to support you.
davidgitman6/19/2017, 6:41:13 AM

We can't.

davidgitman6/19/2017, 6:41:08 AM

Only casualties.

bagaiev.kostiantyn6/19/2017, 6:41:00 AM

Then we'll sue Mike to cover the expenses <ss type="rofl">(rofl)</ss>
davidgitman6/19/2017, 6:40:58 AM

There are no winners in war.

davidgitman6/19/2017, 6:40:45 AM

Yes, but at what cost.

bagaiev.kostiantyn6/19/2017, 6:40:28 AM

Go on. We'll win all of this.
bagaiev.kostiantyn6/19/2017, 6:40:10 AM

Ok good

davidgitman6/19/2017, 6:40:06 AM

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Yes.
davidgitman6/19/2017, 6:40:01 AM

They think the case is a groundless attempt to get more money from CPK sale
bagaiev.kostiantyn6/19/2017, 6:40:01 AM

Did you sent them Brief?

bagaiev.kostiantyn6/19/2017, 6:39:41 AM

Right now we didn’t hear any suggestions from them. They even don’t ask
questions.

bagaiev.kostiantyn6/19/2017, 6:39:13 AM

Just ask them for transparency. How they see situation. What they think about
all of that.

davidgitman6/19/2017, 6:39:08 AM

Is there anything specifically you would like me to ask and communicate to
you<e_m ts="1497868734" ts_ms="1497868734785" a="davidgitman"

t="61"/>
davidgitman6/19/2017, 6:38:54 AM

There anything specifically you would like me to ask and communicate to you
davidgitman6/19/2017, 6:38:44 AM

Okay

bagaiev.kostiantyn6/19/2017, 6:38:40 AM

It costs too much <ss type="smile">:)</ss>

davidgitman6/19/2017, 6:38:11 AM

Would you like to talk with them?

bagaiev.kostiantyn6/19/2017, 6:37:34 AM

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I see, Dave, ask them how they see on the whole situation please. Ask them for
their estimates.

davidgitman6/19/2017, 6:36:29 AM
Court is at 3pm EST.

davidgitman6/19/2017, 6:36:19 AM

I will be at Dentons office around 10:30am EST.
bagaiev.kostiantyn6/19/2017, 6:35:43 AM

Ohh. Ok.

davidgitman6/19/2017, 6:35:30 AM

&

bagaiev.kostiantyn6/19/2017, 6:35:12 AM

3 2???

davidgitman6/19/2017, 6:35:07 AM

I'll go with 3 Dentons lawyers.
bagaiev.kostiantyn6/19/2017, 6:35:01 AM

Ok thank you.

davidgitman6/19/2017, 6:34:52 AM

There was an issue with it. I will call the bank this morning
bagaiev.kostiantyn6/19/2017, 6:34:50 AM

On 6/19/17, at 1:33 PM, David Gitman wrote:

> I will then go to court in the afternoon to explain to judge as much as I can.

You'll go with Lindsay right? Not alone?

bagaiev.kostiantyn6/19/2017, 6:34:26 AM

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Dave, the payment to Russian’s Modulbank didn’t reach it yet. Can you double
check it’s status? Usually it is arriving eaerly in the morning next day, or even

same day when wired.
davidgitman6/19/2017, 6:33:54 AM

T will then go to court in the afternoon to explain to judge as much as I can.
bagaiev.kostiantyn6/19/2017, 6:33:31 AM

Ok.

davidgitman6/19/2017, 6:33:28 AM

I'm going to Brian's office this morning.
bagaiev.kostiantyn6/19/2017, 6:33:27 AM

I've added a couple of comments. No more to add
davidgitman6/19/2017, 6:33:17 AM

You can look at the history or the comment button to see this.
bagaiev.kostiantyn6/19/2017, 6:33:14 AM

Good.

davidgitman6/19/2017, 6:32:57 AM

It's because Lindsay accepted or rejected the changes.
bagaiev.kostiantyn6/19/2017, 2:02:58 AM

Hello. I don’t see markups, but I see that it has some changes.

davidgitman6/18/2017, 8:15:24 PM

I spoke to Brian. I'm gonna go to their office in the morning after they review
the brief that Laura wrote and the mark ups we made on our affidavit. I'll then
go to court in the afternoon to explain to the judge that I'm sorry if I didn't fully
comply with his orders but that has been fixed and I will comply going forward.

davidgitman6/18/2017, 6:20:54 PM

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Laura and I marked up the Affidavit, <a
href="https://docs.google.com/document/d/1zbcha7_DIUOdUcFxI3N8bnibZK8wi

2wWa4xzRQiEHfE">https://docs.google.com/document/d/izbcha7_DIUOdUcFxI
3N8bnibZK8wl2wWa4xzRQ1EHfE</a>

« davidgitman6/18/2017, 4:18:40 PM
Agreed

« davidgitman6/18/2017, 4:18:38 PM
Yes

« bagaiev.kostiantyn6/18/2017, 4:18:33 PM
It would be better if she would read brief Laura made today

« davidgitman6/18/2017, 4:18:29 PM
I’m almost done going through it

¢ davidgitman6/18/2017, 4:18:07 PM
Lindsays work is not bad

« davidgitman6/18/2017, 4:17:59 PM
Thx

» bagaiev.kostiantyn6/18/2017, 4:16:45 PM
Seems correct

« davidgitman6/18/2017, 4:16:32 PM
I joined that call

* davidgitman6/18/2017, 4:16:27 PM
March 6th

* bagaiev.kostiantyn6/18/2017, 4:16:17 PM

just check AWS account
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a

davidgitman6/18/2017, 4:16:07 PM

Thx

bagaiev.kostiantyn6/18/2017, 4:15:37 PM
Or March. Not sure
bagaiev.kostiantyn6/18/2017, 4:15:31 PM
On sprint call. It was April I think.
bagaiev.kostiantyn6/18/2017, 4:15:18 PM
Movement to NDAP - yes
davidgitman6/18/2017, 4:15:16 PM

<ss type="laugh">:D</ss>
davidgitman6/18/2017, 4:15:08 PM

t was on a sprintcall<e_m ts="1497816897" ts_ms="1497816898845"
a="davidgitman" t="61"/>

bagaiev.kostiantyn6/18/2017, 4:15:06 PM

I exported slack conversations just in case <ss type="smile">:)</ss>
davidgitman6/18/2017, 4:14:58 PM

ext was on a sprintcall

bagaiev.kostiantyn6/18/2017, 4:14:51 PM

3rd of Oct 2016 |

davidgitman6/18/2017, 4:14:41 PM

Do you remember when I first mentioned it?
bagaiev.kostiantyn6/18/2017, 4:14:38 PM

No we used the same slack from oct2016

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* davidgitman6/18/2017, 4:14:21 PM
It wasn’t slack?

¢ bagaiev.kostiantyn6/18/2017, 4:14:05 PM
We focused on AWS

¢ davidgitman6/18/2017, 4:13:35 PM

Do you remember what the first service we moved out of NDAP to prepare for
the sale?

« bagaiev.kostiantyn6/13/2017, 2:42:15 PM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

¢ bagaiev.kostiantyn6/13/2017, 2:42:15 PM
<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>
</partlist>

* bagaiev.kostiantyn6/12/2017, 10:49:27 AM
We will in any case

» davidgitman6/12/2017, 10:49:26 AM

I would like to leave you and A with a few options to think about overnight,
tonight. Should we go back to CR they way things were (I might step away in
this case), fight in court, start a competing product, etc.

* davidgitman6/12/2017, 10:48:04 AM
I see the first day as tough as we should all talk about future.

+ bagaiev.kostiantyn6/12/2017, 10:47:26 AM
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Hope they will be not that tough <ss type="smile">:)</ss>
davidgitman6/12/2017, 10:47:02 AM

Though this will be a tough few days, I’m excited to see you
bagaiev.kostiantyn6/12/2017, 10:45:01 AM

<ss type="smile">:)</ss>)

davidgitman6/12/2017, 10:44:56 AM

Tt was dark when I left and the sun is setting again
davidgitman6/12/2017, 10:44:39 AM

I’m not sure what time is my time right now<e_m ts="1497278675"
ts_ms="1497278675072" a="davidgitman" t="61"/>

davidgitman6/12/2017, 10:44:35 AM

I’m n to sure what time is my time right now
bagaiev.kostiantyn6/12/2017, 10:44:14 AM

I started at 0:00 your time <ss type="smile">:)</ss>
bagaiev.kostiantyn6/12/2017, 10:43:55 AM

A bit shorter than yours <ss type="smile">:)</ss>
davidgitman6/12/2017, 10:43:41 AM

How long was the trip?
bagaiev.kostiantyn6/12/2017, 10:43:29 AM

Train

davidgitman6/12/2017, 10:43:25 AM

Did you fly?

bagaiev.kostientyn6/12/2017, 10:43:17 AM

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5
i

Just reached Kharkiv <ss type="smile">:)</ss>
» davidgitman6/12/2017, 10:43:14 AM
Waiting for flight to Kharkiv
* bagaiev.kostiantyn6/12/2017, 10:43:07 AM
cool
« davidgitman6/12/2017, 10:42:59 AM
Yes
+ bagaiev.kostiantyn6/12/2017, 10:40:39 AM
Are you in Kiev?

* davidgitman6/12/2017, 10:32:59 AM

=)
* bagaiev.kostiantyn6/12/2017, 10:32:57 AM

No Mike here

» bagaiev.kostiantyn6/12/2017, 10:32:50 AM
Yes

- davidgitman6/12/2017, 10:32:42 AM
Doing a sprint call?

* bagaiev.kostiantyn6/9/2017, 7:42:48 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration> 110</duration>

</part>

<part identity="davidgitman'>
<name> David Gitman</name>
<duration> 110</duration>
i

</part>
</partlist>

bagaiev.kostiantyn6/9/2017, 7:41:01 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn6/8/2017, 8:30:51 PM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
<duration> 1015</duration>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>1015</duration>
</part>

</partlist>

bagaiev.kostiantyn6/8/2017, 8:13:55 PM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

davidgitman6/8/2017, 5:05:29 PM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name> Konstantyn Bagaiev</name>
<duration>247</duration>

</part>

mae

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56
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<part identity="davidgitman">
<name>David Gitman</name>
<duration>248</duration>
</part>

</partlist>

davidgitman6/8/2017, 5:01:21 PM

<partlist type="started"” alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn6/8/2017, 5:00:23 PM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
</part>

</partlist>

bagaiev.kostiantyn6/8/2017, 5:00:23 PM
<partlist type="started" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>

</part>

</partlist>

davidgitman6/5/2017, 3:45:57 PM

Then computer.

davidgitman6/5/2017, 3:45:54 PM

Click audio options

bagaiev.kostiantyn6/5/2017, 3:45:42 PM

I’m on a laptop

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bagaiev.kostiantyn6/5/2017, 3:45:37 PM

what should I click here <a
href="https://monosnap.com/file/834bMtPEsbhGLZZQ7WHLj2up2gwgYD"> https:
//monosnap.com/file/834bMtPEsbhGLZZQ7WHLj2up2gwgYD</a>

davidgitman6/5/2017, 3:45:13 PM

Are you on mobile too?

davidgitman6/5/2017, 3:44:55 PM

My phone is charging

bagaiev.kostiantyn6/5/2017, 3:44:37 PM

Ok

davidgitman6/5/2017, 3:44:31 PM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-eus-
d4-dbOdd0faa0ba7cbecb52d8a1e804b979"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d4-
db0dd0faa0ba7cbecb52d8a1e804b979/views/imgt1"><Title></Title>

This version of Skype does not support photo sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d4-
db0dd0faa0ba7cbecb52d8a1e804b979">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-eus-d4-dbOdd0faa0ba7cbecb52d8a1e804b979</a><FileSize
v="1641147" /><OriginalName v="SkypePhoto_20170605_15 44 29.jpg"
/><meta type="photo" originalName="SkypePhoto_20170605_15_44_29.jpq”

/></URIObject>
+ davidgitman6/5/2017, 3:44:24 PM

I'm waiting for you.
« bagaiev.kostiantyn6/5/2017, 3:44:02 PM

Can we talk later? Probably you are on your way somewhere
+ bagaiev.kostiantyn6/5/2017, 3:43:46 PM

No rush,

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davidgitman6/5/2017, 3:43:35 PM

My cell is dying too.

davidgitman6/5/2017, 3:43:09 PM

I will go buy new laptop charger today to keep in the office
bagaiev.kostiantyn6/5/2017, 3:43:09 PM

Ok

davidgitman6/5/2017, 3:43:02 PM

I'm on mobile and I forgot my laptop charger at home
davidgitman6/5/2017, 3:42:49 PM

Can you use <a
href="http://www.uberconference.com/dgitman">www.uberconference.com/dgit
man</a> | Dial in: 646-847-0026 | No PIN needed

davidgitman6/5/2017, 3:42:40 PM

However

davidgitman6/5/2017, 3:42:37 PM

Yes.

davidgitman6/5/2017, 3:42:33 PM

Maybe he will see that he can't rip everyone off infront of you.<e_m
ts="1496691738" ts_ms="1496691739077" a="davidgitman" t="61"/>

bagaiev.kostiantyn6/5/2017, 3:42:29 PM

Can we have a call?

davidgitman6/5/2017, 3:42:19 PM

Maybe he will see that h can't rip everyone off infront of you.

bagaiev.kostiantyn6/5/2017, 3:42:06 PM

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Case 1:17-cv-04327-LLS-RWL Document 180-20 Filed 08/14/20 Page 60 of 146

Making us deptors of US goverment is out of any acceptable things
¢ davidgitman6/5/2017, 3:41:56 PM

Maybe it will have a good outcome.
¢ davidgitman6/5/2017, 3:41:49 PM

Next time let us not respond.
* bagaiev.kostiantyn6/5/2017, 3:41:17 PM

We are with you.

- bagaiev.kostiantyn6/5/2017, 3:41:07 PM

This is type of strategy. I’m not sure what is a better strategy with people like
Mike.

« davidgitman6/5/2017, 3:41:05 PM

I'm not sure what else to do.
* davidgitman6/5/2017, 3:40:50 PM

I want you and Aleksey to move on with me.
- bagaiev.kostiantyn6/5/2017, 3:40:37 PM

No problem<e_m ts="1496691634" ts_ms="1496691635018"
a="bagaiev.kostiantyn"” t="61"/>

» bagaiev.kostiantyn6/5/2017, 3:40:35 PM
No proble

+ davidgitman6/5/2017, 3:40:34 PM
I'm trying here.

« bagaiev.kostiantyn6/5/2017, 3:40:31 PM
No problem.

» davidgitman6/5/2017, 3:40:30 PM
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i

I didn't mean to make things worse.
davidgitman6/5/2017, 3:40:20 PM

Sorry

davidgitman6/5/2017, 3:40:16 PM

The lawyer asked me not to do that. It would weaken our position.

bagaiev.kostiantyn6/5/2017, 3:40:03 PM

Now he can deny all this, and accounting looks like a very small part of all of this

bagaiev.kostiantyn6/5/2017, 3:39:35 PM

Right. But here we have 13 points. All I wanted is the reason of why not make
accounting.

davidgitman6/5/2017, 3:38:26 PM

I thought you wanted to see that he won't do accounting and is taking
advantage of Alice, SRH and myself.

bagaiev.kostiantyn6/5/2017, 3:37:34 PM

He will just tell you that this is not acceptable and that's it.
bagaiev.kostiantyn6/5/2017, 3:37:12 PM

And that we know all this. That means that you talk closely to us.
bagaiev.kostiantyn6/5/2017, 3:36:51 PM

With this email you mentioned that you gave all the info to us.<e_m
ts="1496691406" ts_ms="1496691406937" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn6/5/2017, 3:36:46 PM

With this email you mentioned that you game all the info to us.
bagaiev.kostiantyn6/5/2017, 3:34:30 PM

checking

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* davidgitman6/5/2017, 3:32:23 PM
How was the beach? Did you see my email?
« bagaiev.kostiantyn6/5/2017, 12:23:51 PM
Thanks <ss type="smile">:)</ss>
+ davidgitman6/5/2017, 12:23:42 PM
Enjoy
+ bagaiev.kostiantyn6/5/2017, 12:21:24 PM

Dave, I’m going to the beach for the last time here. Then I’m going to eat
something. I'll be back in about 2 hours.

» bagaiev.kostiantyn6/5/2017, 12:20:38 PM
UA company - means that I should apply for Visa in Ukraine with Ukrainian
passport, after I was applying in Russia with Russian passport. That looks very

suspicious for US. Lets talk in person about that.<e_m ts="1496679630"
ts_ms="1496679632319" a="bagaiev.kostiantyn" t="61"/>

« bagaiev.kostiantyn6/5/2017, 12:20:32 PM
UA company - means that I should apply for Visa in Ukraine with Ukrainian
passport, after I was applying in Russia with Russian passport. That looks very
suspicious for US. Lets talk in peron about that.

» bagaiev.kostiantyn6/5/2017, 12:19:19 PM
I know. I need visa for this. Let’s discuss this next week

» davidgitman6/5/2017, 12:17:46 PM
I need you in NYC from time to time to talk with investors, customers, etc

« davidgitman6/5/2017, 12:17:33 PM
I want us to travel back and forth as needed to grow CR

+ bagaiev.kostiantyn6/5/2017, 12:17:05 PM

Yes I heard of that

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ai

a

davidgitman6/5/2017, 12:16:56 PM

If you headquater the company in Ireland there is almost no tax. Apple is
famous for doing this.<e_m ts="1496679408" ts_ms="1496679409519"

a="davidgitman" t="61"/>
davidgitman6/5/2017, 12:16:49 PM

If you headwater the company in Ireland there is almost no tax. Apple is famous
for doing this.

davidgitman6/5/2017, 12:16:29 PM

There are many tricks to this
bagaiev.kostiantyn6/5/2017, 12:16:13 PM

That’s fine. Don’t worry.

davidgitman6/5/2017, 12:16:10 PM

Someone will open corp in UA
bagaiev.kostiantyn6/5/2017, 12:15:44 PM

Moving me back to UA ? <ss type="smile">:)</ss>
davidgitman6/5/2017, 12:15:42 PM

There will be some taxes but we can reduce them this way
davidgitman6/5/2017, 12:15:26 PM

T would like to set up a new corp in UA with you
davidgitman6/5/2017, 12:15:14 PM

That's what will will do.
bagaiev.kostiantyn6/5/2017, 12:15:01 PM

Dave, what if you outsource development to Ukrainian company. Should
company pay US taxes too?

bagaiev.kostiantyn6/5/2017, 12:14:23 PM

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om,
i i
;

Right. That’s what I’m talking about.
* davidgitman6/5/2017, 12:14:07 PM
And also keep you out of US
+ davidgitman6/5/2017, 12:13:58 PM
You would never see anything from sale
* bagaiev.kostiantyn6/5/2017, 12:13:01 PM
Don’t be in a hurry. Talk to your lawyers <ss type="smile">:)</ss>
» bagaiev.kostiantyn6/5/2017, 12:11:57 PM

On 6/5/17, at 6:10 PM, David Gitman wrote:
> What do you mean lied about share?

He sent me an email in 10th of October last year, that I'll pretend on 5% in case
of CR sale, or extra income. Basically if these taxes are not paid that makes no

sense for me.
« davidgitman6/5/2017, 12:11:08 PM
I will reply to his last email
« davidgitman6/5/2017, 12:10:49 PM
I'm going to send an email to Mike.
* davidgitman6/5/2017, 12:10:43 PM
What do you mean lied about share?
+ bagaiev.kostiantyn6/5/2017, 12:10:21 PM
So basically that means that Mike lied to me about share too. Just lied.
+ davidgitman6/5/2017, 12:10:15 PM

Look in upwork contract. They say taxes are up to the parties to do
correctly<e_m ts="1496679004" ts_ms="1496679004998" a="davidgitman"

t="61"/>

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on

davidgitman6/5/2017, 12:10:04 PM
Look in upward contract. They say taxes are up to the parties to do correctly
bagaiev.kostiantyn6/5/2017, 12:09:53 PM

Sick...

davidgitman6/5/2017, 12:09:39 PM

HR has already clarified you should pay taxes.
bagaiev.kostiantyn6/5/2017, 12:09:38 PM

Or upwork

bagaiev.kostiantyn6/5/2017, 12:09:33 PM

E.g. you found me in oDesk

bagaiev.kostiantyn6/5/2017, 12:09:22 PM

On 6/5/17, at 6:04 PM, Konstantyn wrote:
> What I mean that at current point I shouldn’t have any debts to US

Someone should clarify this. I was independent contractor working for you and
others. Should I pay taxes to US?

davidgitman6/5/2017, 12:08:45 PM

I would like to figure it out before next payrol
davidgitman6/5/2017, 12:08:26 PM

Let's think about how we should operate going forward.
bagaiev.kostiantyn6/5/2017, 12:07:55 PM

At least he could tell me this fact
davidgitman6/5/2017, 12:07:48 PM

I’m trying to prepare you for any issues.

davidgitman6/5/2017, 12:07:39 PM

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i t

This is your risk.
bagaiev.kostiantyn6/5/2017, 12:07:25 PM
Yes he should

| davidgitman6/5/2017, 12:07:20 PM

He could have had a conversation about it<e_m ts="1496678838"
ts_ms="1496678838512" a="davidgitman" t="61"/>

davidgitman6/5/2017, 12:07:18 PM

He could have had a conversation about tit
bagaiev.kostiantyn6/5/2017, 12:07:18 PM
No surprises here
bagaiev.kostiantyn6/5/2017, 12:07:03 PM
That is clear

bagaiev.kostiantyn6/5/2017, 12:06:59 PM
Mike was reducing expenses

bagaiev.kostiantyn6/5/2017, 12:06:45 PM

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From what I just read and copied here - they can looks at these money but can’t

pretend

davidgitman6/5/2017, 12:06:38 PM

What I’m most upset about here is how Mike payed games around this.

davidgitman6/5/2017, 12:06:09 PM

That is the risk

davidgitman6/5/2017, 12:05:59 PM

Will the government look at the money sent to you in the past?

davidgitman6/5/2017, 12:05:41 PM

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Let’ say there is a sale of CR.
+ davidgitman6/5/2017, 12:05:19 PM

In my opinion CSV should pay these taxes
» bagaiev.kostiantyn6/5/2017, 12:05:03 PM

But since now I probably should be an employee and pay taxes
« davidgitman6/5/2017, 12:05:02 PM

T was told by HR that this has been a problem in the past.
+ bagaiev.kostiantyn6/5/2017, 12:04:37 PM

What I mean that at current point I shouldn’t have any debts to US
* davidgitman6/5/2017, 12:04:33 PM

There is a difference. And in US both pay taxes.
* bagaiev.kostiantyn6/5/2017, 12:04:19 PM

On 6/5/17, at 6:03 PM, David Gitman wrote:
> What happens if CR takes on investment?

On 6/5/17, at 5:59 PM, Konstantyn wrote:
> And since now I can be your employee

» davidgitman6/5/2017, 12:04:08 PM

IT agree 100% with you<e_m ts="1496678605" ts_ms="1496678606321"
a="davidgitman" t="61"/>

- bagaiev.kostiantyn6/5/2017, 12:04:06 PM

There should be some formal difference between independent contractor and
employee

+ davidgitman6/5/2017, 12:03:57 PM

What happens if CR takes on investment?<e_m ts="1496678630"
ts_ms="1496678630665" a="davidgitman" t="61"/>

6/7
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davidgitman6/5/2017, 12:03:50 PM

What happens id CR takes on investment?
davidgitman6/5/2017, 12:03:39 PM

What append if CR gets sold?
davidgitman6/5/2017, 12:03:30 PM

But here’s the issue
davidgitman6/5/2017, 12:03:26 PM

I agree 100% from you

bagaiev.kostiantyn6/5/2017, 12:02:45 PM

Basically, why I should pay any taxes to US if I had no benefit from this. E.g. I
had no protection of being fired due to sexual harrasment <ss
type="facepalm">(facepalm)</ss><e_m ts="1496678557"
ts_ms="1496678558431" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn6/5/2017, 12:02:38 PM

Basically, why I should pay any taxes to US if I had no benefit from this. E.g. I
had no protection of being fired due to sexual harrasment <ss
type="facepalm">(facepalm)</ss>

bagaiev.kostiantyn6/5/2017, 12:01:30 PM

I know that it is a usual thing when independent contractor is being hired after
he worked for a while

bagaiev.kostiantyn6/5/2017, 12:00:54 PM

I actually was telling everyone that I’m a freelancer
davidgitman6/5/2017, 12:00:19 PM

HR is telling me that we can be liable for this.
bagaiev.kostiantyn6/5/2017, 11:59:59 AM

And since now I can be your employee

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j

bagaiev.kostiantyn6/5/2017, 11:59:50 AM

So I was independent contractor.<e_m ts="1496678380"
ts_ms="1496678381539" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn6/5/2017, 11:59:41 AM
So I was independed contractor.

bagaiev.kostiantyn6/5/2017, 11:59:31 AM

It can be our way. You found me, and I was independent contractor. I didn’t
have work hours, paid vacations etc. I could do any other job which can give me

income, at some time it actually was like this.

bagaiev.kostiantyn6/5/2017, 11:58:15 AM

Pay the worker as a legitimate independent contractor. This is risky and usually
not the best route. Say an organization needs a salesperson in England but
doesn’t want to register there, so classifies the salesman as an “independent
contractor.” If that’s such a great idea, Dowling asks, then why not make all your
U.S. salespeople independent contractors, since you'll save on Social Security,
employee benefit contributions and the like?

The answer is that you can’t because they’re performing as employees. Dowling
said there’s general consensus around the world about legitimate contractor
classification. If the person-has set work hours and receives benefits and
performance evaluations, then he or she is an employee.

A salesperson who represents product lines for a variety of companies in addition
to yours might be able to be paid as an independent contractor, but if someone’s
title is executive vice president and the person is on your organizational chart,

peewee nes

davidgitman6/5/2017, 11:31:09 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>398</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>398</duration>

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wt,

i

</part>
_</partlist>

davidgitman6/5/2017, 11:26:21 AM

The more I learn here the moe I'm <a href="https://www.irs.gov/businesses/u-
s-tax-withholding-on-payments-to-foreign-
personsworried">https://www.irs.gov/businesses/u-s-tax-withholding-on-
payments-to-foreign-personsworried</a>.

davidgitman6/5/2017, 11:24:31 AM

<partlist type="started" alt="">

<part identity="davidgitman">

<name> David Gitman</name>

</part>

</partlist>

bagaiev.kostiantyn6/5/2017, 11:24:11 AM

Let’s talk voice

davidgitman6/5/2017, 11:23:13 AM

So if you come to US, will they ask you to pay this.
davidgitman6/5/2017, 11:23:01 AM

Because Mike should have paid taxes on your salary.
davidgitman6/5/2017, 11:22:47 AM

We need to be careful here.

bagaiev.kostiantyn6/5/2017, 11:22:43 AM

Just checked it - I never saw such form<e_m ts="1496676156"
ts_ms="1496676158404" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn6/5/2017, 11:22:38 AM
Just check it - I never saw such form

bagaiev.kostiantyn6/5/2017, 11:22:29 AM

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I’m 100% sure
* davidgitman6/5/2017, 11:21:25 AM
Okay
« bagaiev.kostiantyn6/5/2017, 11:21:09 AM
T have no idea what is it <ss type="smile">:)</ss>
« davidgitman6/5/2017, 11:20:59 AM
Are you 100% sure
« bagaiev.kostiantyn6/5/2017, 11:20:52 AM
No
« davidgitman6/5/2017, 11:20:36 AM
Did Mike ever have you fit out form W-8BEN?
* davidgitman6/5/2017, 11:20:19 AM
Sure
* bagaiev.kostiantyn6/5/2017, 11:20:16 AM
Just want to understand the logic. I'll read about this a bit

+ davidgitman6/5/2017, 11:19:52 AM

<a href="https://www.irs.gov/businesses/u-s-tax-withholding-on-payments-to-
foreign-persons">https://www.irs.gov/businesses/u-s-tax-withholding-on-
payments-to-foreign-persons</a>

» davidgitman6/5/2017, 11:18:06 AM
<a href="https://www.shrm.org/resourcesandtools/hr-topics/global-
hr/pages/paying-employees-
abroad.aspx">https://www.shrm.org/resourcesandtools/hr-topics/global-
hr/pages/paying-employees-abroad.aspx</a>

+ bagaiev.kostiantyn6/5/2017, 11:17:56 AM

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i

T want to understand why I should pay US taxes in addition to Russian ones
» bagaiev.kostiantyn6/5/2017, 11:17:28 AM
Where can I read more about being compliant ?
« davidgitman6/5/2017, 11:15:45 AM
<a href="https://www.irs.gov/individuals/international-taxpayers/taxpayer-
identification-numbers-tin">https://www.irs.gov/individuals/international-
taxpayers/taxpayer-identification-numbers-tin</a>
* bagaiev.kostiantyn6/5/2017, 11:15:01 AM
Something like L Visa is required for that
+ bagaiev.kostiantyn6/5/2017, 11:14:48 AM
I thought that at first I should get in US and after that I'll be able to pay taxes
* bagaiev.kostiantyn6/5/2017, 11:14:30 AM
I need more details about that.
« davidgitman6/5/2017, 11:14:26 AM
I’m talking the over with HR advisor.
« davidgitman6/5/2017, 11:14:16 AM
The US will let you in if you're paying taxes and an owner for a US corporation.
* davidgitman6/5/2017, 11:13:35 AM
We will get you a tax id in the US
+ davidgitman6/5/2017, 11:13:26 AM
I mean to write “compliant"
- bagaiev.kostiantyn6/5/2017, 11:03:43 AM
?

¢ bagaiev.kostiantyn6/5/2017, 10:41:30 AM

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How can I pay US taxes if I don’t have residency?
» bagaiev.kostiantyn6/5/2017, 10:40:59 AM
What does mean to be complaint?

+ davidgitman6/5/2017, 10:15:30 AM

Are you open to paying US taxes so we can be compliant? We can raise your
salary to help compensate for taxes. This will also make the visa process easier.

« bagaiev.kostiantyn6/5/2017, 8:38:01 AM
ok

+ davidgitman6/5/2017, 8:37:40 AM
Talk later.

« davidgitman6/5/2017, 8:37:37 AM
I'm on the street

* davidgitman6/5/2017, 8:37:29 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>282</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>284</duration>

</part>

</partlist>

+ davidgitman6/5/2017, 8:32:44 AM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>

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</part>
</partlist>

bagaiev.kostiantyn6/5/2017, 8:32:34 AM

skype lags
davidgitman6/5/2017, 8:32:18 AM

<partlist type="ended" alt="">
<part identity="davidgitman">

<name>David Gitman</name>
</part>

</partlist>

davidgitman6/5/2017, 8:32:17 AM

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn6/5/2017, 8:31:53 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
<duration>25</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration> 25 </duration>

</part>

</partlist>

bagaiev.kostiantyn6/5/2017, 8:31:28 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>

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</part>
</partlist>

* davidgitman6/5/2017, 8:30:59 AM

I can talk now.
. davidgitman6/5/2017, 8:30:38 AM

<partlist type="ended" alt="">

<part identity="davidgitman">

<name>David Gitman</name>
</part>

</partlist>

¢ davidgitman6/5/2017, 8:30:37 AM

<partlist type="started" alt="">
<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

« davidgitman6/5/2017, 8:21:14 AM

And reset more passwords<e_m ts="1496665273" ts_ms="1496665274000"
a="davidgitman" t="61"/>

¢ davidgitman6/5/2017, 8:21:14 AM
And reset more passwords
« davidgitman6/5/2017, 8:20:54 AM
I will wipe mine. a
* davidgitman6/5/2017, 8:20:48 AM
Me too.
« bagaiev.kostiantyn6/5/2017, 8:20:45 AM
Got that.

¢ davidgitman6/5/2017, 8:20:38 AM
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<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-eus-
d2-9288be7594809bfeb15e3f28859582aa"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d2-
9288be7594809bfeb15e3f28859582aa/views/imgt1"><Title> </Title>

This version of Skype does not support photo sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d2-
9288be7594809bfeb1 5e3f28859582aa">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-eus-d2-9288be7594809bfeb1 5e3f28859582aa </a> <FileSize

v="2288037" /><OriginalName v="SkypePhoto_20170605_08 20 35 Jpg"
/><meta type="photo" originalName="SkypePhoto_20170605_08_20_35.jpg"

/></URIObject>
bagaiev.kostiantyn6/5/2017, 8:20:37 AM
I'm afraid of our laptops being compromised
davidgitman6/5/2017, 8:20:29 AM

15 min

davidgitman6/5/2017, 8:20:19 AM

Was the same on the call?
bagaiev.kostiantyn6/5/2017, 8:20:16 AM
Dave - better talk in voice
bagaiev.kostiantyn6/5/2017, 8:19:33 AM
Threats

bagaiev.kostiantyn6/5/2017, 8:19:30 AM
That's all he does in all his latest messages
davidgitman6/5/2017, 8:18:53 AM

What's the point of telling you of a threat?
bagaiev.kostiantyn6/5/2017, 8:18:49 AM

Like keep working on CR, but don’t do anything.

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* bagaiev.kostiantyn6/5/2017, 8:18:31 AM
“Don’t do anything”
- bagaiev.kostiantyn6/5/2017, 8:18:10 AM
His plan is to warn me of signing up anything
¢ davidgitman6/5/2017, 8:18:00 AM

Engineering has risks too. But they don't deal with human emotions, as
much.<e_m ts="1496665029" ts_ms="1496665029978" a="davidgitman"

t="61"/>
- bagaiev.kostiantyn6/5/2017, 8:17:58 AM

He told that you are not going to contact him and thus he has only “legal”
option, which he doesn’t want to use.

* davidgitman6/5/2017, 8:17:27 AM
What was his plan
* bagaiev.kostiantyn6/5/2017, 8:17:11 AM
He was very emotional. But his plan wasn't to listen to me at all.
« davidgitman6/5/2017, 8:17:09 AM
Engineering has risks to. But they don't deal with human emotions

« davidgitman6/5/2017, 8:16:53 AM

Are there any more details you can share about your conversation. Any questions
he asked. Anything?

* bagaiev.kostiantyn6/5/2017, 8:16:40 AM
In business you take risks.
¢ davidgitman6/5/2017, 8:16:22 AM
That's the difference between engineering and business

* davidgitman6/5/2017, 8:16:11 AM

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It's hard not to take action
+ bagaiev.kostiantyn6/5/2017, 8:15:13 AM

Usually when I have some issues which I can worry about - I know that I can do
something to improve situation.<e_m ts="1496664907"
ts_ms="1496664907573" a="bagaiev.kostiantyn" t="61"/>

* bagaiev.kostiantyn6/5/2017, 8:15:07 AM

Usually when I have some issues which I can worry about - I know that I can
something to improve situation.

+ bagaiev.kostiantyn6/5/2017, 8:14:17 AM
Feel a bit better

* davidgitman6/5/2017, 8:14:05 AM
Maybe a bit?

» bagaiev.kostiantyn6/5/2017, 8:12:51 AM
Maybe a bit.

* davidgitman6/5/2017, 8:12:43 AM
Great.

« bagaiev.kostiantyn6/5/2017, 8:12:35 AM
Yes.

» davidgitman6/5/2017, 8:12:27 AM
Okay. Feel better?

» bagaiev.kostiantyn6/5/2017, 8:11:54 AM

Mike just called me. He didn’t asked any questions. Just asked not to do anything
until things are being sorted. That's it.

* davidgitman6/5/2017, 7:13:56 AM

Is also a good person and easy to work with

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as

| j

- bagaiev.kostiantyn6/5/2017, 7:13:44 AM
Whwn I met in Kiev I liked him. He looks open.
* davidgitman6/5/2017, 7:13:36 AM
Well you're going to have me for 30 hours a week
+ davidgitman6/5/2017, 7:13:15 AM
Drill him when you meet him. Make sure you like him. I think he's amazing
+ bagaiev.kostiantyn6/5/2017, 7:13:15 AM
I just not used to discuss current issues with someone except Alexey
» bagaiev.kostiantyn6/5/2017, 7:12:54 AM

Ok cool.
* davidgitman6/5/2017, 7:12:49 AM

T asked him to join us in Kharkiv next week. He will be there for a few days<e_m
ts="1496661146" ts_ms="1496661146956" a="davidgitman" t="61"/>

+ bagaiev.kostiantyn6/5/2017, 7:12:39 AM

On 6/5/17, at 1:12 PM, David Gitman wrote:
> I'll shut up and let you work.

No-no-no. You need to talk to me to get into our current issues <ss
type="smile">:)</ss>

« davidgitman6/5/2017, 7:12:26 AM

I asked him to join us in hearty of next week. He will be there for a few days
+ davidgitman6/5/2017, 7:12:14 AM

Armenia.
* davidgitman6/5/2017, 7:12:06 AM

I'll shut up and let you work. I'll get ready for my day. I'll be in the office in
about two hours after I take Shira to school

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as,

'
a

bagaiev.kostiantyn6/5/2017, 7:11:53 AM
By the way where he lives?

bagaiev.kostiantyn6/5/2017, 7:11:36 AM

Dave, we still have a lot of bugs in eBay integration which are known. Now with
account you gave we can debug and fix them. Let’s meet and discuss.

davidgitman6/5/2017, 7:11:22 AM

I'm ready to hire after we build a roadmap in JIRA Portfolio.
davidgitman6/5/2017, 7:10:33 AM

He's nuts. He finds the craziest bugs

bagaiev.kostiantyn6/5/2017, 7:10:20 AM

Aha got that. We need part time QA, we need another developer, we need
marketing

davidgitman6/5/2017, 7:10:13 AM

He's working on some other e-commerce sites I've been building
davidgitman6/5/2017, 7:09:54 AM

Yep

bagaiev.kostiantyn6/5/2017, 7:09:48 AM

Aram? - the guy we met in Kiev?

davidgitman6/5/2017, 7:09:41 AM

He won third place in the world QA championships last year
davidgitman6/5/2017, 7:09:33 AM

I want to bring in Aram for QA.

bagaiev.kostiantyn6/5/2017, 7:09:33 AM

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Alexey was dealing with this, and he told that there is an issue with cookies in
safary, and that he made a solution

davidgitman6/5/2017, 7:09:03 AM

1&#x27;m proud of myself for being able to debug the issue just by knowing a
few facts <ss type="smile">:)</ss>

bagaiev.kostiantyn6/5/2017, 7:08:58 AM
And they found that when they open it is safary - something doesn’t work
bagaiev.kostiantyn6/5/2017, 7:08:39 AM

Freshdesk guys were testing our iframe app
davidgitman6/5/2017, 7:08:26 AM

Ah

bagaiev.kostiantyn6/5/2017, 7:08:25 AM

<ss type="smile">:)</ss>

bagaiev.kostiantyn6/5/2017, 7:08:20 AM

We hadn't

davidgitman6/5/2017, 7:08:13 AM

That we had a cookie issue.

bagaiev.kostiantyn6/5/2017, 7:07:57 AM

On 6/5/17, at 1:07 PM, David Gitman wrote:
> And I didn't even know that <ss type="smile">:)</ss>

What exactly? <ss type="smile">:)</ss>
bagaiev.kostiantyn6/5/2017, 7:07:45 AM

We also do screenshare through <a
href="http://www.appear.in/channelreply">www.appear.in/channelreply</a>

tool when needed. To make a demo, or to help setup and solve issues<e_m
ts="1496660820" ts_ms="1496660821055" a="bagaiev.kostiantyn" t="61"/>

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¢ davidgitman6/5/2017, 7:07:42 AM
And I didn&#x27;t even know that <ss type="smile">:)</ss>
« bagaiev.kostiantyn6/5/2017, 7:07:30 AM

Most probably. Alexey mentioned he was fixing something related to
cookies.<e_m ts="1496660845" ts_ms="1496660846180"
a="bagaiev.kostiantyn” t="61"/>

¢ bagaiev.kostiantyn6/5/2017, 7:07:26 AM
Most probably. Alexey mentioned he was fixing something relate to cookies.

« davidgitman6/5/2017, 7:07:01 AM
Chances are they hit the cookie length limit.

« bagaiev.kostiantyn6/5/2017, 7:07:01 AM
We also do screenshare throught <a
href="http://www.appear.in/channelreply">www.appear.in/channelreply</a>
tool when needed. To make a demo, or to help setup and solve issues

- bagaiev.kostiantyn6/5/2017, 7:06:28 AM

They gave me a screenshot and login and password to their Desk instance
« davidgitman6/5/2017, 7:06:08 AM

If the customer is in the US I can do a screen share and capture browser errors.
* bagaiev.kostiantyn6/5/2017, 7:04:42 AM

I try to debug - but can’t reproduce

- bagaiev.kostiantyn6/5/2017, 7:04:23 AM

And now customer complains that in Desk sometimes app doesn’t load. They
need to clear cache

« davidgitman6/5/2017, 7:04:14 AM

Nice,

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i

davidgitman6/5/2017, 7:04:04 AM

Ah.

bagaiev.kostiantyn6/5/2017, 7:03:54 AM

Alexey recently made a fix for an iframe app issue in Safary
bagaiev.kostiantyn6/5/2017, 7:03:30 AM

Right now checking issue with our app for Desk
davidgitman6/5/2017, 7:03:08 AM

What are you doing today?

bagaiev.kostiantyn6/5/2017, 6:32:07 AM

If Mike have nothing to hide - then why he doesn’t accept accounting.<e_m
ts="1496658665" ts_ms="1496658665436" a="bagaiev.kostiantyn" t="61"/>

davidgitman6/5/2017, 6:31:48 AM
Got it.
bagaiev.kostiantyn6/5/2017, 6:31:39 AM

On 6/5/17, at 12:31 PM, David Gitman wrote:
> Why would it be any different for you if the lawyer replies to Mike's email

instead of me?

No problem. I just mentioned that it should be a reply to the email.
bagaiev.kostiantyn6/5/2017, 6:31:07 AM

That's it

davidgitman6/5/2017, 6:31:05 AM

Why would it be any different for you if the lawyer replies to Mike's email instead
of me?

bagaiev.kostiantyn6/5/2017, 6:31:05 AM

If Mike have nothing to hide - then why he don’t accept accounting.

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e

TN, wom

\

bagaiev.kostiantyn6/5/2017, 6:30:33 AM

Dave, I may be wrong. Your lawyers know better what to do. But for me it is
logical step. And for Alexey too.

davidgitman6/5/2017, 6:29:47 AM

But if you insist, I will ask.

bagaiev.kostiantyn6/5/2017, 6:29:32 AM

He decided to go “public”. You can attach this request to your reply to the email
davidgitman6/5/2017, 6:29:24 AM

I don't think that's a good idea as I explained yesterday.
bagaiev.kostiantyn6/5/2017, 6:28:57 AM

I think the request should be a reply to his email

davidgitman6/5/2017, 6:28:32 AM

I might ask him to send the request and put you on the email. This might be the
best way to show strength in asking for an accounting.

davidgitman6/5/2017, 6:27:40 AM

I will ask our lawyer about it.
bagaiev.kostiantyn6/5/2017, 6:27:31 AM

That's the only question that makes sense. Accounting.
davidgitman6/5/2017, 6:27:19 AM .

It's a good idea.

bagaiev.kostiantyn6/5/2017, 6:27:17 AM

Yes, that’s what I’m talking about.
davidgitman6/5/2017, 6:27:04 AM

Mike might behave differently if you are on the email.

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* davidgitman6/5/2017, 6:26:34 AM
I'd like to ask for accounting one more time.
« davidgitman6/5/2017, 6:20:40 AM
I don't want to ask either.
« davidgitman6/5/2017, 6:20:31 AM
Understood. I will try to avoid that at all costs.
« bagaiev.kostiantyn6/5/2017, 6:20:23 AM
I don’t want to ask all of them to resubscribe.
+ bagaiev.kostiantyn6/5/2017, 6:20:04 AM
About half of our customers are from Paypal.
+ bagaiev.kostiantyn6/5/2017, 6:19:44 AM
Dave, it is not possible to move customers from 1 paypal account to another
without asking them to resubscribe <a href="https://www.paypal-

community.com/t5/About-Products-Archive/Moving-subscriptions-from-one-
account-to-another/td-p/433141">https://www.paypal-

community.com/t5/About-Products-Archive/Moving-subscriptions-from-one-
account-to-another/td-p/433141 </a>
» davidgitman6/5/2017, 6:19:01 AM
Good.
« bagaiev.kostiantyn6/5/2017, 6:18:08 AM
I did
+ davidgitman6/5/2017, 6:18:04 AM
Did you sleep?
+ bagaiev.kostiantyn6/5/2017, 6:18:04 AM

Just wake up earlier
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a,

bagaiev.kostiantyn6/5/2017, 6:17:49 AM

Well I’m more lucky with that. When I need to sleep - I can sleep.

davidgitman6/5/2017, 6:16:44 AM

I had to take a pill to sleep
davidgitman6/5/2017, 6:15:42 AM

Me too

bagaiev.kostiantyn6/5/2017, 6:15:39 AM
Just a bit nervous.
bagaiev.kostiantyn6/5/2017, 6:15:31 AM
Overall

davidgitman6/5/2017, 6:15:24 AM
About?

bagaiev.kostiantyn6/5/2017, 6:15:12 AM
Hello. A bit nervous
davidgitman6/5/2017, 6:14:56 AM

How are you today?
davidgitman6/4/2017, 6:15:14 PM
Thanks for reminding me.
bagaiev.kostiantyn6/4/2017, 6:14:58 PM
Sooner or later with one way or another.
bagaiev.kostiantyn6/4/2017, 6:14:46 PM
That’s what I say. It will happen

davidgitman6/4/2017, 6:13:14 PM

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ws

T want to get over this bump and get excited again about future.
bagaiev.kostiantyn6/4/2017, 6:13:09 PM
Right. That's what I’m talking.
davidgitman6/4/2017, 6:12:51 PM

Let's start focusing on the best.
bagaiev.kostiantyn6/4/2017, 6:12:38 PM

<ss type="smile">:)</ss>
bagaiev.kostiantyn6/4/2017, 6:12:35 PM

I don’t see “worst” for now.
davidgitman6/4/2017, 6:12:15 PM

What's the worst that can happen?
davidgitman6/4/2017, 6:12:07 PM

Thx. I will try.

bagaiev.kostiantyn6/4/2017, 6:12:00 PM
Weill sort everything with one way or another
bagaiev.kostiantyn6/4/2017, 6:11:42 PM
Thanks. Try to relax in evening
davidgitman6/4/2017, 6:11:20 PM

good night.

bagaiev.kostiantyn6/4/2017, 6:11:06 PM \
I’m going to sleep

davidgitman6/4/2017, 6:10:51 PM

If you want to talk and it can't wait until tomorrow, txt or call me.

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bagaiev.kostiantyn6/4/2017, 6:09:28 PM

Yes sure

davidgitman6/4/2017, 6:09:22 PM

Can we talk more tomorrow?

davidgitman6/4/2017, 6:08:34 PM
I'm exhausted.

davidgitman6/4/2017, 6:03:02 PM

K
bagaiev.kostiantyn6/4/2017, 6:02:51 PM

On 6/5/17, at 12:00 AM, David Gitman wrote:
> Lmk if I should bring hardware.

Let's get things sorted before. I feel comfortable here on 2013 MBP. Just need
another monitor when not on my iMac <ss type="smile">:)</ss>

davidgitman6/4/2017, 6:01:19 PM

Right.
bagaiev.kostiantyn6/4/2017, 6:01:19 PM

For now slack seems compromized-

bagaiev.kostiantyn6/4/2017, 6:00:39 PM

<a
href="https:// monosnap.com/file/rPEqE6gamcdBpd1FjPmIWxiAR8uoyU" >hitps:/

/monosnap.com/file/rPEqE6gamcdBpd1 FjPmIWxiAR8u0yU</a>

davidgitman6/4/2017, 6:00:13 PM

Lmk if I should bring hardware.

davidgitman6/4/2017, 5:59:58 PM

K
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+ bagaiev.kostiantyn6/4/2017, 5:59:54 PM
Ido

* davidgitman6/4/2017, 5:59:44 PM
I don't remember

* bagaiev.kostiantyn6/4/2017, 5:59:37 PM

On 6/4/17, at 11:59 PM, David Gitman wrote:
> I might wipe my laptop

New macbook Pro’s looks nice <ss type="smile">:)</ss>
« bagaiev.kostiantyn6/4/2017, 5:59:14 PM

You called me immediately.
» davidgitman6/4/2017, 5:59:08 PM

I might wipe my laptop |
» bagaiev.kostiantyn6/4/2017, 5:59:00 PM

<a
href="https://monosnap.com/file/FVBDe66NOYuQKWYUut7qKZUAtOLPHU">https

://monosnap.com/file/FVBDe66NOYuQKWYUut7qKZUAtOLPHU</a>
+ bagaiev.kostiantyn6/4/2017, 5:58:33 PM

No sorry 4 hours

* bagaiev.kostiantyn6/4/2017, 5:57:48 PM
It is 1 hour gap.
¢ davidgitman6/4/2017, 5:55:25 PM
It has to be a leak in my communications
« davidgitman6/4/2017, 5:54:49 PM

Right.
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}

bagaiev.kostiantyn6/4/2017, 5:54:41 PM

We all knew that there will be no trip on Tue - your afternoon.<e_m
ts="1496613273" ts_ms="1496613274468" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn6/4/2017, 5:54:34 PM

We all knew that there will be no trip on Tue - you afternoon.
bagaiev.kostiantyn6/4/2017, 5:54:08 PM

Me you Alexey, Laura.

bagaiev.kostiantyn6/4/2017, 5:53:48 PM

But on Wednesday we all knew that there will be no trip.

davidgitman6/4/2017, 5:53:46 PM

Yes. This email and others emails through lawyers have information that he
should not have.

bagaiev.kostiantyn6/4/2017, 5:53:27 PM
Mentioning that you are going here.
davidgitman6/4/2017, 5:53:20 PM

You and Laura. That's it.
bagaiev.kostiantyn6/4/2017, 5:53:11 PM
Look Mike sent an email on Wed.
bagaiev.kostiantyn6/4/2017, 5:53:00 PM
I don’t think Laura.
davidgitman6/4/2017, 5:52:35 PM
Some emails to texts to Laura ?
davidgitman6/4/2017, 5:52:09 PM

Exactly

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ons,

j

- bagaiev.kostiantyn6/4/2017, 5:51:43 PM
Exactly on Thursday.
* bagaiev.kostiantyn6/4/2017, 5:51:18 PM

Dave, think of how Mike could get known about your first idea to flight here.
Whom you told that you are going to Montenegro on Thursday.

» davidgitman6/4/2017, 5:49:48 PM

Yes, the information is public. However Michael knew about the company set up
before the information was public

+ bagaiev.kostiantyn6/4/2017, 5:47:51 PM

Dave, the info about new company is in public right? Is it possible to find e.g. all
your companies? Or all companies with Channel Reply in their name?<e_m
ts="1496612859" ts_ms="1496612861569" a="bagaiev.kostiantyn” t="61"/>

- bagaiev.kostiantyn6/4/2017, 5:47:41 PM

Dave, the info about new company is in public right? Is it possible to find e.g. all
you companies? Or all companies with Channel Reply in their name?

- davidgitman6/4/2017, 5:42:51 PM

I checked the same. I only saw my IPs
+ bagaiev.kostiantyn6/4/2017, 5:42:20 PM

Only my laptop and smartphone here. All IP’s are from Montenegro.
» bagaiev.kostiantyn6/4/2017, 5:41:58 PM

<a
href= “https://monosnap.com/file/qAHfv3HGb8nDFtCihqq1 fcMQAW6Eb]">https:/

/monosnap.com/file/qAHfv3HGb8nDFtClhaq! fcMQAW6Eb)< [a>

» davidgitman6/4/2017, 5:39:01 PM

Please change your password, turn on 2FA and force a logout of all sessions

« bagaiev.kostiantyn6/4/2017, 5:38:32 PM

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Alexey doesn’t know anything about new company, new bank accounts, etc.
bagaiev.kostiantyn6/4/2017, 5:38:02 PM

Talked to my wife now. The only source of Mike’s info we see is slack.
davidgitman6/4/2017, 5:31:58 PM

I understand. I'll talk to our lawyers tomorrow.
bagaiev.kostiantyn6/4/2017, 5:30:45 PM

Just want to see his reply. This email is a show for me and Alexey

davidgitman6/4/2017, 5:30:00 PM

I'm also happy to show you emails from lawyers as late as Friday saying he
rejects an audit.

davidgitman6/4/2017, 5:29:24 PM
I'm open to asking for an audit again
bagaiev.kostiantyn6/4/2017, 5:15:28 PM

Dave, about last Mikes email. Can you talk to your lawyers about if you can
suggest him to make financial audit in this email with me and Alexey CC’d? Since

eaeeses,

oS role

third party company if you have nothing to hide.”
bagaiev.kostiantyn6/4/2017, 5:03:16 PM

OK.

bagaiev.kostiantyn6/4/2017, 5:03:14 PM

We'll need new paypal for all of them
davidgitman6/4/2017, 5:03:08 PM

Let's get all the facts and then decide.
bagaiev.kostiantyn6/4/2017, 5:03:05 PM

That will not work

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davidgitman6/4/2017, 5:03:01 PM

For now just do research
bagaiev.kostiantyn6/4/2017, 5:02:59 PM
Ahh.

bagaiev.kostiantyn6/4/2017, 5:02:41 PM

Maybe we'll be able to move ChargeBee Paypal customers. Then there shouldn't
be any risks with old paypal ones, cause they are quite loyal

bagaiev.kostiantyn6/4/2017, 5:01:55 PM
I will do this too.

davidgitman6/4/2017, 5:01:25 PM

I will research tomorrow
davidgitman6/4/2017, 5:01:19 PM

I agree

bagaiev.kostiantyn6/4/2017, 5:00:59 PM

As a co-founder - I insist to do our best to find the way not to do that <ss
type="smile">:)</ss> The idea of the tools like Channel Reply is to have them

“just works”
davidgitman6/4/2017, 4:58:35 PM

I will check but probably not.
bagaiev.kostiantyn6/4/2017, 4:58:23 PM

Can we avoid this?

davidgitman6/4/2017, 4:58:06 PM

We might have to accept some loss from this change.

bagaiev.kostiantyn6/4/2017, 4:58:02 PM

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That will no work well actually. We’ve sent several emails for our Amazon
cusotmers, we've created tickets in their helpesk’s. About 20% didn’t react.<e_m
ts="1496609851" ts_ms="1496609852119" a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn6/4/2017, 4:57:55 PM

That will no work well actually. We've sent several emails for our Amazon
cusotmers, we've created tickets in their helpesk’s. About 20% didn’t
reacted.<e_m ts="1496609851" ts_ms="1496609852119"
a="bagaiev.kostiantyn" t="61"/>

bagaiev.kostiantyn6/4/2017, 4:57:32 PM

That will no work well actually. We've sent several emails for our Amazon
cusotmers, we've created tickets in their Desk. About 20% didn’t reacted.

davidgitman6/4/2017, 4:56:37 PM
I can call some if needed as well

bagaiev.kostiantyn6/4/2017, 4:56:31 PM

22 old paypal subscriptions. And I don’t have exact number about ChargeBee
ones.

davidgitman6/4/2017, 4:56:26 PM

We'll have to send them email to reauth their account.
bagaiev.kostiantyn6/4/2017, 4:56:03 PM

What about Paypal customers?

davidgitman6/4/2017, 4:54:10 PM

I think we'll need to do that.
bagaiev.kostiantyn6/4/2017, 4:53:41 PM

Stripe allows that.

bagaiev.kostiantyn6/4/2017, 4:53:23 PM

Most probably we'll be able to move stripe customers to a new ChargeBee
account.

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bagaiev.kostiantyn6/4/2017, 4:52:22 PM

Done. There was Chaseonline screenshot. There were no screenshots mentioning
that you create a new bank accounts. But there we a number of them
mentioning a new company and me as co-founder.

davidgitman6/4/2017, 4:49:53 PM
Disable screenshots just incase
bagaiev.kostiantyn6/4/2017, 4:49:25 PM

<a
href="https://monosnap.com/file/RDY9qRksNKFxVJoAujCOcOlmn3iSAS">https://

monosnap.com/file/RDY9qRksSNKFxVJoAujCOcOlmn3iSAS</a> no Mike here
davidgitman6/4/2017, 4:49:03 PM

I guess not

davidgitman6/4/2017, 4:48:34 PM

I think you figured it out

davidgitman6/4/2017, 4:48:28 PM

Probably!

bagaiev.kostiantyn6/4/2017, 4:48:18 PM

Does he have access to Timedoctor screenshots?
bagaiev.kostiantyn6/4/2017, 4:42:20 PM

I didn't tell anyone. Only Slack knows.
davidgitman6/4/2017, 4:41:53 PM

Who knows we opened a new bank account?
bagaiev.kostiantyn6/4/2017, 4:39:30 PM

So half of the customers are using Paypal.<e_m ts="1496608764"
ts_ms="1496608764954" a="bagaiev.kostiantyn" t="61"/>

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bagaiev.kostiantyn6/4/2017, 4:39:24 PM
So half of the cusotmers are using Paypal.

bagaiev.kostiantyn6/4/2017, 4:39:11 PM

We have 245 active subscriptions in ChargeBee. About 70% are linked through
Stripe. Other are on Paypal. There are also old Paypal cusotmers, about 50.

davidgitman6/4/2017, 4:36:33 PM

Can you look into it please

davidgitman6/4/2017, 4:36:28 PM

I see

bagaiev.kostiantyn6/4/2017, 4:35:37 PM

But I'm quite sure that it is impossible to move Paypal customers.

bagaiev.kostiantyn6/4/2017, 4:35:02 PM

Basically. We'll need to move old Stripe subscriptions to a new Stripe account.
I’m not sure that it is possible

bagaiev.kostiantyn6/4/2017, 4:34:30 PM

I’m not sure still.

davidgitman6/4/2017, 4:34:15 PM

How many customers would have to resubscribe?
bagaiev.kostiantyn6/4/2017, 4:34:14 PM

Stripe subscriptions were successfully imported

bagaiev.kostiantyn6/4/2017, 4:33:52 PM

Look, most of our clients are in ChargeBee, when we switched to it - they clearly
stated that it is impossible to import existing Paypal subscriptions.

bagaiev.kostiantyn6/4/2017, 4:32:50 PM

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mt ont

Not sure
davidgitman6/4/2017, 4:32:30 PM

Can we move to a new ChargeBee, Stripe and PayPal account?
bagaiev.kostiantyn6/4/2017, 4:31:18 PM

Only slack and voice

bagaiev.kostiantyn6/4/2017, 4:31:03 PM

We didn’t talk here about things Mike knows
bagaiev.kostiantyn6/4/2017, 4:30:51 PM

Dave, I’ve just checked our conversation.
bagaiev.kostiantyn6/4/2017, 4:30:31 PM

No

davidgitman6/4/2017, 4:28:40 PM

Does your MS account use the old password?
davidgitman6/4/2017, 4:28:28 PM

That's odd

bagaiev.kostiantyn6/4/2017, 4:27:52 PM

I've successfully changed it several times. But skype itself accepts my old
password

davidgitman6/4/2017, 4:27:21 PM

I think you should use your new MS password.
bagaiev.kostiantyn6/4/2017, 4:27:20 PM

I've chanhed it several times

davidgitman6/4/2017, 4:27:06 PM

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They merged the accounts
. bagaiev.kostiantyn6/4/2017, 4:27:03 PM
But I login to skype with old password
* davidgitman6/4/2017, 4:26:57 PM
Right
* bagaiev.kostiantyn6/4/2017, 4:26:51 PM
Everytime it leads to Live.com account password reset
+ davidgitman6/4/2017, 4:26:44 PM
Why?
+ bagaiev.kostiantyn6/4/2017, 4:26:29 PM
I can’t reset my skype password
» davidgitman6/4/2017, 4:19:06 PM

Crap
« bagaiev.kostiantyn6/4/2017, 4:18:59 PM
Lol, now I can't lagin
+ bagaiev.kostiantyn6/4/2017, 4:18:09 PM
I clicked back - and everything reset |
» bagaiev.kostiantyn6/4/2017, 4:17:57 PM
Their portal sucks
« bagaiev.kostiantyn6/4/2017, 4:17:43 PM
Maybe they mean my iMac which I forgot to turn off in Moscow
+ bagaiev.kostiantyn6/4/2017, 4:16:54 PM

1 min
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davidgitman6/4/2017, 4:16:49 PM

Where do you see that?
davidgitman6/4/2017, 4:16:45 PM

Are you serious?
bagaiev.kostiantyn6/4/2017, 4:16:28 PM
Microsoft telling me that someone else uses my skype account
davidgitman6/4/2017, 4:04:33 PM

Also, I can not understand all expenses
davidgitman6/4/2017, 4:03:45 PM
Agreed.

bagaiev.kostiantyn6/4/2017, 4:03:42 PM
The ones Mike is talking about
bagaiev.kostiantyn6/4/2017, 4:03:29 PM
So you should be able to see all expenses

bagaiev.kostiantyn6/4/2017, 4:03:09 PM

1 more thing Dave. As an owner you should have access to all your bank
accounts.

davidgitman6/4/2017, 3:50:36 PM

I also turned on 2FA
bagaiev.kostiantyn6/4/2017, 3:44:53 PM
Me too.

davidgitman6/4/2017, 3:44:44 PM

I will change Skype password now

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+ _bagaiev.kostiantyn6/4/2017, 3:44:30 PM
He is out of slack. All info is in Skype.
* davidgitman6/4/2017, 3:44:01 PM
It could be chat?
* bagaiev.kostiantyn6/4/2017, 3:43:49 PM
So it is not an email password
. bagaiev.kostiantyn6/4/2017, 3:43:23 PM
He told for you, me, and Alexey, that he doesn’t steal money. If e.g. me and
Alexey doesn’t know anything about this - then why should he do this in email to
us. You didn’t mention such things in emails.
« davidgitman6/4/2017, 3:40:43 PM
I'm going to do that now.
¢ davidgitman6/4/2017, 3:35:25 PM
Maybe change my passwords
* davidgitman6/4/2017, 3:35:22 PM
T need to check all my accounts
* davidgitman6/4/2017, 3:35:00 PM
He has too much information.
» davidgitman6/4/2017, 3:34:52 PM
That worries me.
° bagaiev.kostiantyn6/4/2017, 3:34:43 PM
About accounting issue.

. bagaiev.kostiantyn6/4/2017, 3:34:30 PM

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T want to say that Mike makes strong move. He does it in public. He told us that
he knows that we know some things.

» davidgitman6/4/2017, 3:32:27 PM

LMK if you have any questions about the email
¢ davidgitman6/4/2017, 3:32:09 PM

Kk
» bagaiev.kostiantyn6/4/2017, 3:31:49 PM

I just noticed this email

- bagaiev.kostiantyn6/4/2017, 3:31:44 PM

You already replied<e_m ts="1496604700" ts_ms="1496604702423"
a="bagaiev.kostiantyn" t="61"/>

« bagaiev.kostiantyn6/4/2017, 3:31:42 PM
You already replies

- bagaiev.kostiantyn6/4/2017, 3:31:36 PM
Yes 3 hours ago

* davidgitman6/4/2017, 3:31:28 PM
Or a newer email?

+ davidgitman6/4/2017, 3:31:18 PM

On 6/4/17, at 3:24 PM, Konstantyn wrote:
> An email from Mike sent to allof us )

Is this from “12:12 PM” EST?
« bagaiev.kostiantyn6/4/2017, 3:24:44 PM
Should be in your mailbox

« bagaiev.kostiantyn6/4/2017, 3:24:33 PM

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An email from Mike sent to allof us
. davidgitman6/4/2017, 3:23:03 PM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>2545</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>2545</duration>

</part>

</partlist>

+ davidgitman6/4/2017, 2:40:39 PM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

* davidgitman6/4/2017, 2:38:22 PM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>22</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>23</duration>

</part>

</partlist>

+ davidgitman6/4/2017, 2:37:55 PM
<partlist type="started” alt="">

<part identity="davidgitman">
<name>David Gitman</name>

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</part>
</partlist>

* davidgitman6/4/2017, 2:37:38 PM
I just walked in door.
+ bagaiev.kostiantyn6/4/2017, 2:37:20 PM

Wow. I wouldn’t bomb you if I would know <ss type="smile">:)</ss> Lets talk
when are back home ok?

* davidgitman6/4/2017, 2:37:07 PM
I'm @). I type fast.

- davidgitman6/4/2017, 2:36:50 PM
Yes

« bagaiev.kostiantyn6/4/2017, 2:36:45 PM
Are typing in iphone that fast ?

* bagaiev.kostiantyn6/4/2017, 2:36:34 PM
Maybe later

« davidgitman6/4/2017, 2:36:31 PM
Yes. Walking into house.

- bagaiev.kostiantyn6/4/2017, 2:36:16 PM
?

+ bagaiev.kostiantyn6/4/2017, 2:36:15 PM
Can we talk with voice

* davidgitman6/4/2017, 2:36:07 PM
Not so small

* davidgitman6/4/2017, 2:36:01 PM

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There are a lot more small issues than that.
» bagaiev.kostiantyn6/4/2017, 2:35:51 PM
As far as I can understand.
¢ davidgitman6/4/2017, 2:35:49 PM
Otherwise it would've gone to court already.

+ bagaiev.kostiantyn6/4/2017, 2:35:31 PM

For me there are 3 parts of the current issue. His CPK deal position, yours CR
position, and the fact about stolen money. For US laws he really didn’t give a

paper to Alice.
- davidgitman6/4/2017, 2:35:25 PM
If it goes to court, I think Mike would go to jail

» davidgitman6/4/2017, 2:35:03 PM

I don't think it'll ever go to court. There are other way of remediation in the US
system ,

* davidgitman6/4/2017, 2:34:46 PM
Ah.
» bagaiev.kostiantyn6/4/2017, 2:34:35 PM
Dave, I want to understand how US court will look at the whole situation.
» davidgitman6/4/2017, 2:34:18 PM
Why else can I tell you.
» bagaiev.kostiantyn6/4/2017, 2:34:15 PM
That is clear too.
» davidgitman6/4/2017, 2:34:03 PM

Overall I have legal, accounting, and trust issues. This can not be repaired.

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* bagaiev.kostiantyn6/4/2017, 2:33:59 PM
THat is clear

« davidgitman6/4/2017, 2:33:22 PM

As of Friday he put in a legal letter again that he is holding this position because
he never put Alice's ownership in paper<e_m ts="1496601171"
ts_ms="1496601171406" a="davidgitman" t="61"/>

« davidgitman6/4/2017, 2:32:51 PM

As of Friday he put in a legal letter that he is hot holding strong and that stance
because he never put Alice's ownership and paper

+ bagaiev.kostiantyn6/4/2017, 2:32:43 PM
Right
« davidgitman6/4/2017, 2:32:28 PM

As I described if you weeks ago most of the situation started from Mike not
giving Alice any of the ownership from the half million sale of CPK that he

promised
¢ davidgitman6/4/2017, 2:31:50 PM
Sure.
- bagaiev.kostiantyn6/4/2017, 2:31:44 PM
I just want ot understand situation.
* davidgitman6/4/2017, 2:31:19 PM
Please let the lawyers fix this mess. We need a 3 party to sort this out.
+ bagaiev.kostiantyn6/4/2017, 2:30:51 PM

Well for me you always were 50/50 partners. When you hired me for the full
time you told that you are equal partner <ss type="smile">:)</ss>

« davidgitman6/4/2017, 2:30:09 PM

He never had half.

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» bagaiev.kostiantyn6/4/2017, 2:29:59 PM
But he will not have half ownership as he had

« davidgitman6/4/2017, 2:29:13 PM

Mike will continue to have ownership at CR. However I will not be in a position to
let him be in charge of money

« davidgitman6/4/2017, 2:28:48 PM
Yes, As we discussed
¢ bagaiev.kostiantyn6/4/2017, 2:28:26 PM

On 6/4/17, at 8:26 PM, David Gitman wrote:
> What is done is illegal.

« bagaiev.kostiantyn6/4/2017, 2:28:17 PM

I mean for US law<e_m ts="1496600891" ts_ms="1496600892656"
a="bagaiev.kostiantyn” t="61"/>

« bagaiev.kostiantyn6/4/2017, 2:28:12 PM
I man for US law
* davidgitman6/4/2017, 2:27:59 PM
I have not stolen CR
» davidgitman6/4/2017, 2:27:46 PM
His number #1 job is to watch money and accounting.

» bagaiev.kostiantyn6/4/2017, 2:27:30 PM

So you are in parity now right? He stolen money, and you stolen Channel Reply
right?

+ davidgitman6/4/2017, 2:27:22 PM
I like how he blaming old accounting

* davidgitman6/4/2017, 2:27:07 PM

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Once the trust is gone....
« davidgitman6/4/2017, 2:26:37 PM

What is done is illegal. But besides that I don't trust them going forward
* bagaiev.kostiantyn6/4/2017, 2:26:13 PM

Is it legal?
* bagaiev.kostiantyn6/4/2017, 2:26:02 PM

Dave, I mentioned previously that Mike can put his money to cover stolen ones.
Thus it will looks like you are really stolen Channel Reply from NDAP.

* davidgitman6/4/2017, 2:25:12 PM

Lawyers can help me sort out what he is doing now.
* davidgitman6/4/2017, 2:24:27 PM

We are both that way.

* bagaiev.kostiantyn6/4/2017, 2:24:09 PM

You know I’m too honest sometimes and this can be an issue. But I think twice
before say something.

¢ davidgitman6/4/2017, 2:24:02 PM

You haven't been in touch with him for a while now. It would be much easier for
me, even for a day if you delay it.

¢ davidgitman6/4/2017, 2:22:45 PM

Heh
» bagaiev.kostiantyn6/4/2017, 2:22:29 PM

I’m not a kid which can say talk to my dad <ss type="smile">:)</ss>
+ davidgitman6/4/2017, 2:22:20 PM

I understand

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+ bagaiev.kostiantyn6/4/2017, 2:21:52 PM

I don't like to hide.
+ bagaiev.kostiantyn6/4/2017, 2:21:41 PM

For me emotionally exhausting the thing is that I can’t do anything.
» bagaiev.kostiantyn6/4/2017, 2:21:11 PM

On 6/4/17, at 8:19 PM, David Gitman wrote:
> Then I need to explain it

You can do that quick. Dave, I don’t think that you have to worry. If you'll
explain me something - then I'll just have more info. For now all I see from Mike

are threats. He don’t want to explain anything by him own.
+ davidgitman6/4/2017, 2:19:58 PM

It's emotionally exhausting
+ bagaiev.kostiantyn6/4/2017, 2:19:48 PM

You should suggest them something instead. Like icecream shop <ss
type="smile">:)</ss>

* davidgitman6/4/2017, 2:19:45 PM
Then I need to explain it
+ davidgitman6/4/2017, 2:19:38 PM
It's tough for me because he twists everything.
» davidgitman6/4/2017, 2:19:18 PM
Feel free to talk to him.
- bagaiev.kostiantyn6/4/2017, 2:19:08 PM
Ohh.
¢ davidgitman6/4/2017, 2:19:04 PM

Going back home with 3 disappointed 7 year olds.

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+ bagaiev.kostiantyn6/4/2017, 2:18:52 PM
Just want to know what issues can be if I'll talk to Mike,
» davidgitman6/4/2017, 2:18:41 PM
Sold out.
¢ davidgitman6/4/2017, 2:18:34 PM
What's on your mind?
¢ bagaiev.kostiantyn6/4/2017, 2:18:31 PM
You are on the movie probably?
+ bagaiev.kostiantyn6/4/2017, 2:18:22 PM
Let me know when you are online.
* davidgitman6/4/2017, 2:18:18 PM
Hey
« bagaiev.kostiantyn6/4/2017, 2:18:04 PM
I'm back
¢ davidgitman6/4/2017, 1:23:31 PM
I want to explain everything in person
+ davidgitman6/4/2017, 1:23:18 PM
Please don't call Mike until we meet in a week
* davidgitman6/4/2017, 1:20:41 PM
I promised to take Shira and her friends to the movies now
* davidgitman6/4/2017, 1:20:31 PM
I can txt a bit

+ davidgitman6/4/2017, 1:20:24 PM

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<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>181</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>181</duration>

</part>

</partlist>

¢ davidgitman6/4/2017, 1:17:23 PM
<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>
<part identity="davidgitman">
<name> David Gitman</name>
</part>
</partlist>

- bagaiev.kostiantyn6/4/2017, 1:17:08 PM
Dave can we talk?

- bagaiev.kostiantyn6/1/2017, 1:18:13 PM
Y talk later

« davidgitman6/1/2017, 1:18:00 PM
Ttyl

+ davidgitman6/1/2017, 1:17:58 PM

Me too

« bagaiev.kostiantyn6/1/2017, 1:16:46 PM
I need to go to shop.

+ davidgitman6/1/2017, 1:14:46 PM

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Time flys.<e_m ts="1496337277" ts_ms="1496337277998" a="davidgitman"
t="61 "/>

« davidgitman6/1/2017, 1:14:37 PM
Time flies,
» davidgitman6/1/2017, 1:14:34 PM
I remember now.
« bagaiev.kostiantyn6/1/2017, 1:14:19 PM
But to have a look on each other
+ bagaiev.kostiantyn6/1/2017, 1:14:10 PM
To discuss something not really important
¢ davidgitman6/1/2017, 1:13:57 PM
Ah

- bagaiev.kostiantyn6/1/2017, 1:13:46 PM

No. At some point when a script was alrady working, and Eric with Will were
using it - I insisted on a call.

* davidgitman6/1/2017, 1:13:30 PM

You have a better memory then me.
+ davidgitman6/1/2017, 1:13:16 PM

I though we met on Skype during first project.
« bagaiev.kostiantyn6/1/2017, 1:12:58 PM

First time I saw you in skype was 3 years ago.
* davidgitman6/1/2017, 1:12:35 PM
« bagaiev.kostiantyn6/1/2017, 1:12:34 PM

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But working one was 2 years later
* davidgitman6/1/2017, 1:12:28 PM
You look older
* davidgitman6/1/2017, 1:12:24 PM
That's crazy.
. bagaiev.kostiantyn6/1/2017, 1:12:17 PM
5 years ago.
¢ davidgitman6/1/2017, 1:12:17 PM
I was thinking of coming close to next weekend.
+ bagaiev.kostiantyri6/1/2017, 1:12:13 PM
2012 January <ss type="smile">:)</ss>
* davidgitman6/1/2017, 1:11:59 PM
When did we build first version on Zendesk script?

. bagaiev.kostiantyn6/1/2017, 1:11:50 PM

Alexey will have 4 days of driving from Monday. After that we'll be ready to meet
in Kharkiv.

. davidgitman6/1/2017, 1:11:39 PM
Phew

* bagaiev.kostiantyn6/1/2017, 1:11:27 PM
Ok.

¢ davidgitman6/1/2017, 1:11:05 PM
Let's both keep focused on the future of CR

+ bagaiev.kostiantyn6/1/2017, 1:10:11 PM

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Ok. Id like to have clear path too.

» davidgitman6/1/2017, 1:10:04 PM
You should keep asking yourself that question

« davidgitman6/1/2017, 1:09:48 PM |
I don't know.

+ davidgitman6/1/2017, 1:09:36 PM

I hope to have a clear path forward including a roadmap and our relationship
with Mike.

+ bagaiev.kostiantyn6/1/2017, 1:09:33 PM
Why Mike so afraid of our meeting?
« bagaiev.kostiantyn6/1/2017, 1:08:46 PM
What will change after we meet?
¢ davidgitman6/1/2017, 1:08:17 PM
If I were you, I would block him until we meet
- bagaiev.kostiantyn6/1/2017, 1:07:56 PM
Ok got that
« davidgitman6/1/2017, 1:07:32 PM

Again you need to be really careful talking to him because he has a way of
twisting things around<e_m ts="1496336806" ts_ms="1496336806573"

a="davidgitman" t="61"/>
« davidgitman6/1/2017, 1:07:05 PM

He has not made his position on CR yet
+ davidgitman6/1/2017, 1:06:46 PM

I'm not sure how she's going to spend. Again you need to be really careful
talking to him because he has a way of twisting things around

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* bagaiev.kostiantyn6/1/2017, 1:06:37 PM
About CR
« bagaiev.kostiantyn6/1/2017, 1:06:18 PM
I just want to know his position
+ bagaiev.kostiantyn6/1/2017, 1:06:08 PM
Dave, I understand this.
¢ davidgitman6/1/2017, 1:05:46 PM
He has no legal right to say that. It has no effect on your work or your income

* davidgitman6/1/2017, 1:05:30 PM

If Mike didn't fuck over all the shareholders and liabilities that we're supposed to
pay just to pay him himself, we would not be in this position

« bagaiev.kostiantyn6/1/2017, 1:04:42 PM
Like - “Dave you can’t meet with K ”
¢ davidgitman6/1/2017, 1:04:21 PM
Block the job?
. bagaiev.kostiantyn6/1/2017, 1:04:09 PM
What is his position?
* bagaiev.kostiantyn6/1/2017, 1:04:02 PM
He is not happy with this. But it is not good for him to block the job.
- bagaiev.kostiantyn6/1/2017, 1:03:37 PM
So he knows that you have control.
+ bagaiev.kostiantyn6/1/2017, 1:03:16 PM

What is Mike’s position about Channel Reply?

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+ davidgitman6/1/2017, 1:01:25 PM
My understanding is the house is in contract
¢ davidgitman6/1/2017, 1:00:54 PM
Well he has a house, he just wants to buy a seven-figure house
* bagaiev.kostiantyn6/1/2017, 1:00:48 PM
So simple.
» bagaiev.kostiantyn6/1/2017, 1:00:43 PM
That explains a lot
+ bagaiev.kostiantyn6/1/2017, 1:00:40 PM
Hahahaha.

» davidgitman6/1/2017, 1:00:25 PM

I have signed a deal and it is now waiting Mike's signature. The money would be
freeze until everything is worked out. However I believe Mike needs the money

right now to buy a house
+ davidgitman6/1/2017, 12:59:52 PM

Let's deal with one day at a time. I know the lawyers are speaking as we are
typing right now.

+ bagaiev.kostiantyn6/1/2017, 12:59:35 PM

What about buyautoparts? Are they ready to wait? Or the deal is signed, but
money are freezed?

- bagaiev.kostiantyn6/1/2017, 12:59:03 PM

But before your trip - he'll know about that and will force communication.
» davidgitman6/1/2017, 12:58:41 PM

Exactly.
+ bagaiev.kostiantyn6/1/2017, 12:58:35 PM

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Probably there is no rush before you come to us.

* davidgitman6/1/2017, 12:58:30 PM

Please give me some time to work with you developing a position and plan for
CR

¢ davidgitman6/1/2017, 12:58:14 PM
I understand that.

* bagaiev.kostiantyn6/1/2017, 12:58:03 PM
I need to have my position about that.

« bagaiev.kostiantyn6/1/2017, 12:57:49 PM

Most probably Mike will contact me soon. He'll be insisting on that. And insisting
on not working with you.

+ davidgitman6/1/2017, 12:57:47 PM

Please do not communicate with him for a while longer
¢ bagaiev.kostiantyn6/1/2017, 12:57:17 PM

At least very hard for me.

- bagaiev.kostiantyn6/1/2017, 12:56:58 PM

Dave, I want to be ready for the talk with Mike. I know that the best tactic for
me is to hide my head into the sand. But I can’t do like this.

+ davidgitman6/1/2017, 12:56:54 PM
+ davidgitman6/1/2017, 12:56:47 PM

I have too many joins going on in my head
« davidgitman6/1/2017, 12:56:34 PM

It's difficult to sort out the complexity in a linear fashion

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+ bagaiev.kostiantyn6/1/2017, 12:56:17 PM
That is completely correct. I’m just clarifying situation.
« davidgitman6/1/2017, 12:56:03 PM
No
» davidgitman6/1/2017, 12:55:47 PM
I don't have much of an ego but I don't want to be put into a bad position
* bagaiev.kostiantyn6/1/2017, 12:55:43 PM

Dave, I need to work with you for CR. It is fora great future of CR. Is ita
conflict of interest ? ,

- bagaiev.kostiantyn6/1/2017, 12:55:05 PM
No problem
+ davidgitman6/1/2017, 12:54:38 PM

I appreciate the offer and might ask you to do it but right now it will make me
look weak if you do that

¢ davidgitman6/1/2017, 12:54:05 PM

You have no right to ask for an audit. Also what would you audit. Mike has
created a complex system of mixing money and has never opened a bank
account for CR

+ davidgitman6/1/2017, 12:53:30 PM

That is standard terms for an operating agreement
. | bagaiev.kostiantyn6/1/2017, 12:53:26 PM

What if I'll ask for audi - will it be a conflict ? <ss type="smile">:)</ss>
* davidgitman6/1/2017, 12:53:15 PM

It also says in the operating agreement that I any founder can ask for an audit

+ davidgitman6/1/2017, 12:53:00 PM

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: \

Yes, I will meet with the company accountant, hopefully tomorrow. I then can
start talking to other firms

+ bagaiev.kostiantyn6/1/2017, 12:52:58 PM
And they say that there is a conflict - lol

* bagaiev.kostiantyn6/1/2017, 12:52:47 PM
You are the cofounder. And you want audit

+ bagaiev.kostiantyn6/1/2017, 12:52:36 PM
Interesting.

* davidgitman6/1/2017, 12:52:21 PM

I'm prepared to start the audit in the near future, on my own<e_m
ts="1496335884" ts_ms="1496335884987" a="davidgitman" t="61"/>

« davidgitman6/1/2017, 12:52:05 PM
I have to research a firm that is certified to do this

« davidgitman6/1/2017, 12:51:53 PM

Right now our accountant may not to do the audit because of a conflict of
interest

¢ davidgitman6/1/2017, 12:51:24 PM
I prepared to start the audit in the near future, on my own
« bagaiev.kostiantyn6/1/2017, 12:51:20 PM

Basically if they are against that - that means that they have what to hide

* davidgitman6/1/2017, 12:50:59 PM

They are still against an audit.<e_m ts="1496335850" ts_ms="1496335850893"
a="davidgitman" t="61"/>

» davidgitman6/1/2017, 12:50:50 PM

We are still against an audit.

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+ davidgitman6/1/2017, 12:50:43 PM
And who will account for money, etc.
+ bagaiev.kostiantyn6/1/2017, 12:50:41 PM
What do they say about audit?
» davidgitman6/1/2017, 12:50:17 PM
Yes
« bagaiev.kostiantyn6/1/2017, 12:50:08 PM
So they just speak about money right?
* davidgitman6/1/2017, 12:49:47 PM
I've been trying to separate the two issues but they are unwilling to do that

* davidgitman6/1/2017, 12:49:32 PM

Right now Mike will not except the shares unless he gets all of the money from '
the auto parts deal
+ davidgitman6/1/2017, 12:48:37 PM

Reply to Mike "Please work things out with David as quickly as possible. I hope
to be working together soon."

+ davidgitman6/1/2017, 12:48:02 PM
I have sent Mike shares.

- bagaiev.kostiantyn6/1/2017, 12:47:22 PM

I see. Dave, let me know how should we behave with Mike. Also, the documents
about shares - do they include Mike? Can you please describe current situation

with Channel Reply?
» davidgitman6/1/2017, 12:45:34 PM
I'm tired of fighting I'm ready to build

* davidgitman6/1/2017, 12:45:22 PM

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Lawyers made me feel like 12 rounds with Muhammad Ali
« davidgitman6/1/2017, 12:45:05 PM

Let's get started on the roadmap.
« bagaiev.kostiantyn6/1/2017, 12:44:59 PM

On 6/1/17, at 2:10 PM, David Gitman wrote:
> What have you heard

About lawyers, insurance companies, banks. All these actually do nothing, but
have a lot of money.

* davidgitman6/1/2017, 12:44:50 PM

Unfortunately, there was no resolution. I will keep working towards a resolution
but it will not happen in the near future

* bagaiev.kostiantyn6/1/2017, 8:11:35 AM
Ok

* davidgitman6/1/2017, 8:10:59 AM
What have you heard

* davidgitman6/1/2017, 8:10:55 AM
Sorry, didn’t mean to say that

* davidgitman6/1/2017, 8:10:45 AM
You've been working with one.

- bagaiev.kostiantyn6/1/2017, 8:10:29 AM
I heard a lot about these parasites in your economy.

« davidgitman6/1/2017, 8:09:14 AM

It's expensive to get this set up. Im spending the 10k+ out of my own pocket to
make this right.

« davidgitman6/1/2017, 8:08:24 AM

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And then there will be another set we need to do
. bagaiev.kostiantyn6/1/2017, 8:08:04 AM

Np
+ davidgitman6/1/2017, 8:08:04 AM

Board Consent

Form of Notice of Stock Option Grant and Stock Option Agreement
Form of Notice of Stock Option Grant and Stock Option Agreement (Early

Exercise)
Form of Stock Award Notice and Restricted Stock Agreement

Form of Stock Award Notice and Restricted Stock Purchase Agreement
Securities Law Compliance Instructions

Stock Plan
Stockholder Consent

* davidgitman6/1/2017, 8:08:01 AM
It has many things to read
. bagaiev.kostiantyn6/1/2017, 8:08:01 AM
Yes sure
» davidgitman6/1/2017, 8:07:56 AM
Can you wait until it’s approved. It should be today

* bagaiev.kostiantyn6/1/2017, 8:07:28 AM

Ok. I just want to read that all to have understanding about how all of that is
organized

» davidgitman6/1/2017, 7:59:45 AM
Should I try to download them as is?
« davidgitman6/1/2017, 7:59:32 AM

They can’t be shared with the Clerky team setting until it’s approved.

- bagaiev.kostiantyn6/1/2017, 7:28:03 AM

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Can I view these documents <a
href="https://monosnap.com/file/AVZH6t7Xm8ibKcrirK TFUNWOQvo1iEP">https://

monosnap.com/file/AVZH6t7XmB8ibKcrirKTFUNWQvo1iEP</a> ?
* davidgitman6/1/2017, 6:57:31 AM

I will update that
* bagaiev.kostiantyn6/1/2017, 6:57:31 AM

Probably should be able to fix that
» bagaiev.kostiantyn6/1/2017, 6:57:18 AM

Dave, I have another official address since last 2-3 months.
srese’Chelobityevskoye sh. 12 bl 5, apt 54, Moscow, Russia, 127495

a re

» bagaiev.kostiantyn6/1/2017, 6:48:32 AM
Thanks
¢ davidgitman6/1/2017, 6:48:22 AM

<a
href="https://admin.google.com/channelreply.com/AdminHome# Migration" >http

s://admin.google.com/channelreply.com/AdminHome#Migration</a>:
+ bagaiev.kostiantyn6/1/2017, 6:46:50 AM

Huh, so slow...
« davidgitman6/1/2017, 6:46:31 AM

I will make you admin so you can see this as well

« davidgitman6/1/2017, 6:46:22 AM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-eus-
d1-6569461e7609e1cb1cb53f45d87e7c3d"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d1-
6569461e7609e1cbicb53f45d87e7c3d/views/imgt1" ams_id="0-eus-d1-
6569461e7609e1cbicb53f45d87e7c3d">Media received. To view it, go to: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d1-
6569461e7609e1cbicb53f45d87e7c3d">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-eus-d1-6569461e7609e1cb1cb53f45d87e7c3d</a><FileSize

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v="335757" /><OriginalName v="Screen Shot 2017-06-01 at 6.46.14 AM.png"
/><meta type="photo" originalName="Screen Shot 2017-06-01 at 6.46.14

AM.png" /></URIObject>

+ davidgitman6/1/2017, 6:45:41 AM
Checking

* bagaiev.kostiantyn6/1/2017, 6:45:33 AM

Also, if the import of the emails from my old google mail still running? I don't see
my old emails

« bagaiev.kostiantyn6/1/2017, 6:43:08 AM

As for your comment in email - I just mention that this is the only info he wanted
to share. There is no any other info or request from him.

¢ davidgitman6/1/2017, 6:38:52 AM
Me too

» bagaiev.kostiantyn6/1/2017, 6:38:44 AM
I’m always for transparency.

« davidgitman6/1/2017, 6:35:48 AM
100% transparency

» davidgitman6/1/2017, 6:35:37 AM

No more games going forward.<e_m ts="1496313329"
ts_ms="1496313334070" a="davidgitman" t="61"/>

* davidgitman6/1/2017, 6:35:34 AM
No mare games going forward.

- davidgitman6/1/2017, 6:35:24 AM
Not you playing games

- bagaiev.kostiantyn6/1/2017, 6:35:14 AM

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I'm not playing games now.
» davidgitman6/1/2017, 6:35:06 AM
We are co-founders.
* bagaiev.kostiantyn6/1/2017, 6:35:04 AM
Thanks.
« davidgitman6/1/2017, 6:34:59 AM
No games
* davidgitman6/1/2017, 6:34:46 AM
T want you to have full transparency into the company.
+ davidgitman6/1/2017, 6:34:32 AM
This is important to me
« davidgitman6/1/2017, 6:34:26 AM
I’m going to give you full access to Clerky
« bagaiev.kostiantyn6/1/2017, 6:34:26 AM
Yes?
° davidgitman6/1/2017, 6:34:14 AM
K
» davidgitman6/1/2017, 6:29:39 AM
K,
» bagaiev.kostiantyn6/1/2017, 6:28:32 AM
I’m reading NDA now
+ bagaiev.kostiantyn6/1/2017, 6:28:22 AM

Ok

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i

+ davidgitman6/1/2017, 6:27:48 AM
Hopefully he will approve soon
* davidgitman6/1/2017, 6:27:41 AM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-eus-
d1-c732df3ac885f55bd9df2df0a6e7d05f"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d1-
c732df3ac885f5Sbd9df2df0a6e7d05f/views/imgt1" ams_id="0-eus-d1-
c/32df3ac885f55bd9df2df0a6e7d05f" > Media received. To view it, go to: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d1-
c732df3ac885f5Sbd9df2df0a6e7d05f">https://login.skype.com/login/sso?go=xm
mfallback?pic=0-eus-d1-c732df3ac885f55bd9df2df0a6e7d05f</a> <FileSize
v="403236" /><OriginalName v="Screen Shot 2017-06-01 at 6.27.28 AM -png"
/><meta type="photo" originalName="Screen Shot 2017-06-01 at 6.27.28

AM.png” /></URIObject>

* bagaiev.kostiantyn6/1/2017, 6:26:42 AM
Ok thanks

« davidgitman6/1/2017, 6:26:22 AM

Changes are made. Our lawyer must approve it now. He should release the
update to you soon.

« davidgitman6/1/2017, 6:17:59 AM
And better then ever

+ bagaiev.kostiantyn6/1/2017, 6:17:50 AM
“<ss type="smile">:)</ss>

« davidgitman6/1/2017, 6:17:44 AM
I'm back

» bagaiev.kostiantyn6/1/2017, 6:17:38 AM

But if you are back to Channel Reply - then let him report to you.

+ bagaiev.kostiantyn6/1/2017, 6:17:15 AM

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He can report to me

+ bagaiev.kostiantyn6/1/2017, 6:17:01 AM
He mostly worked with Mike

* davidgitman6/1/2017, 6:16:44 AM
Or me for now?

« davidgitman6/1/2017, 6:16:38 AM
Can I have him report to you?

* davidgitman6/1/2017, 6:16:25 AM
Marketing Manager?

- bagaiev.kostiantyn6/1/2017, 6:16:23 AM
No idea

» davidgitman6/1/2017, 6:16:14 AM
What is Justin’s title?

+ bagaiev.kostiantyn6/1/2017, 6:15:15 AM
Ok.

* davidgitman6/1/2017, 6:14:04 AM
I'm fixing

* davidgitman6/1/2017, 6:14:02 AM
You're not vestige fast enough

« davidgitman6/1/2017, 6:13:50 AM
Lawyer made a mistake

+ bagaiev.kostiantyn6/1/2017, 6:13:09 AM

I’m reading next one.

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* davidgitman6/1/2017, 6:10:33 AM
Let me see what I can add

+ bagaiev.kostiantyn6/1/2017, 6:10:20 AM
Ok that is clear

- bagaiev.kostiantyn6/1/2017, 6:10:11 AM

At some time I wanted to make an android app which calculates distance
between 2 dots, by moving phone between them. As well as car accelleration

from 0 to 100.

« davidgitman6/1/2017, 6:10:07 AM

However if you told me you want to work for Zendesk on the weekend I might
not be OK <ss type="smile">:)</ss>

« davidgitman6/1/2017, 6:09:40 AM

If you want to make money doing something else, I would send an email saying
“Hey, I want to make money fixing cars not he weekend” I would reply OK.

* davidgitman6/1/2017, 6:09:10 AM
This is standard language.
» davidgitman6/1/2017, 6:08:55 AM

It’s expensive to create and maintain but I want to protect you

- bagaiev.kostiantyn6/1/2017, 6:08:47 AM

Outside Activities. While you render services to the Company, you agree that you
will not engage in any other employment, consulting or other business activity

L

without the written consent of the Company. i#pigeDave, sometimes I dig into
some technologies, like looking at other sides. If I'll find something not related to
Channel Reply - I'm going to share this with you anyway, but can you clarify this

option anyway?
» davidgitman6/1/2017, 6:08:26 AM

We created an ESOP to protect you and Aleksey

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,

¢ davidgitman6/1/2017, 6:07:45 AM
I learned this lesson the hard way

« davidgitman6/1/2017, 6:07:36 AM

So if they come along and put in money, I can then release more shares to keep
you at same (or higher) percentage. <e_m‘ts="1496311630"
ts_ms="1496311630811" a="davidgitman" t="61"/>

» bagaiev.kostiantyn6/1/2017, 6:07:31 AM
Ok.

* davidgitman6/1/2017, 6:07:10 AM

So if they come along and put in money, I can then relate more shares to keep
you at same (or higher) percentage.

» davidgitman6/1/2017, 6:06:37 AM
So what I did is protect 1,000,000 shares from investors, etc
« davidgitman6/1/2017, 6:06:19 AM
You're smarter then most
« davidgitman6/1/2017, 6:06:16 AM
This is a game companies play
« davidgitman6/1/2017, 6:06:09 AM
It’s not done
+ bagaiev.kostiantyn6/1/2017, 6:06:03 AM
Ok.
« bagaiev.kostiantyn6/1/2017, 6:05:57 AM
Probably this should be stated in a document.

» davidgitman6/1/2017, 6:05:55 AM

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There are 5,000,000 share right now.

« davidgitman6/1/2017, 6:05:34 AM
Great question

« bagaiev.kostiantyn6/1/2017, 6:05:31 AM
Ok, good

« davidgitman6/1/2017, 6:05:25 AM
Yes

» bagaiev.kostiantyn6/1/2017, 6:05:19 AM
Are these 250k = 5% of total?

« bagaiev.kostiantyn6/1/2017, 6:04:22 AM

Joking <ss type="smile">:)</ss><e_m ts="1496311458"
ts_ms="1496311459127" a="bagaiev.kostiantyn” t="61"/>

+ bagaiev.kostiantyn6/1/2017, 6:04:19 AM
Joking %)
+ davidgitman6/1/2017, 6:04:15 AM
Exactly |
* bagaiev.kostiantyn6/1/2017, 6:04:05 AM
Ha, I'm already 2 years here <ss type="smile">:)</ss>
* bagaiev.kostiantyn6/1/2017, 6:03:52 AM
Got that. Thanks.
* davidgitman6/1/2017, 6:02:14 AM
Standard is 4 years but I accelerated it for you.

» davidgitman6/1/2017, 6:01:32 AM

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You get 1/2 of the stock today and the rest over the next two years.
* davidgitman6/1/2017, 6:01:12 AM
LMK if you have any questions
» bagaiev.kostiantyn6/1/2017, 6:00:59 AM
I'm reading
* davidgitman6/1/2017, 5:58:21 AM
Initial stock agreements sent.
» bagaiev.kostiantyn6/1/2017, 5:56:55 AM

<a
href="https://www.google.com/maps/place/Akhsarova+St, +11,+Kharkiv,+Khark
iv+Oblast, +Ukraine/@50.0504694,36.2013042,17z/data=!3m1!4b1!4m513m4!1s
0x4127a402c4202283:0x8d195ada907a9908!8m2!3d50.050466!4d36.2034929">
https://www.google.com/maps/place/Akhsarova+St, +11,+Kharkiv, +Kharkiv+Obl
ast, +Ukraine/@50.0504694,36.2013042,17z/data=!3m1!4b1!4m5!3m4! 1s0x4127
4402c4202283:0x8d195ada907a9908!8m2!3d50.050466!4d36.2034929</a>sis

Akhsarova Str, 11 Kharkiv, Ukraine. ~—
. bagaiev.kostiantyn6/1/2017, 5:55:11 AM
1 min I'll check on maps <ss type="smile">:)</ss>
« davidgitman6/1/2017, 5:54:52 AM
That's fine
» bagaiev.kostiantyn6/1/2017, 5:54:44 AM
I don’t know his appartment number
* davidgitman6/1/2017, 5:54:24 AM
Do you have his address in Kharkiv?

« bagaiev.kostiantyn6/1/2017, 5:54:08 AM

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+ davidgitman6/1/2017, 5:54:02 AM
What is Aleksey hourly rate?
+ bagaiev.kostiantyn6/1/2017, 5:49:24 AM
So am I.
* davidgitman6/1/2017, 5:49:02 AM
I would like to dump TD
* davidgitman6/1/2017, 5:48:57 AM
Whatever you prefer.
» davidgitman6/1/2017, 5:48:46 AM
I’m happy to switch it.
+ bagaiev.kostiantyn6/1/2017, 5:48:33 AM
Sometimes I think that monthly salary is better than hourly.
« bagaiev.kostiantyn6/1/2017, 5:47:19 AM
Ok got that.
- davidgitman6/1/2017, 5:46:58 AM
He is asking me these questions
« davidgitman6/1/2017, 5:46:49 AM

Iam OTP with our lawyer. I will attempt to sort it out today. Either way you
need to be protected in my meeting as well.

- bagaiev.kostiantyn6/1/2017, 5:44:53 AM

Dave. That sounds well. But I think this is not a first issue to solve now. I really
appreciate this. And I was going to raise this question. But probably you should

sort things with Mike.

« davidgitman6/1/2017, 5:43:26 AM

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And bonus
* davidgitman6/1/2017, 5:43:21 AM
We can always make a higher per hour rate
* davidgitman6/1/2017, 5:42:59 AM
I will do it per hour then
» bagaiev.kostiantyn6/1/2017, 5:42:39 AM
No. I'll need to pay more taxes then <ss type="smile">:)</ss>
* davidgitman6/1/2017, 5:42:34 AM
Or a bit more?
* davidgitman6/1/2017, 5:42:23 AM
Is it better to have a 4k/month agreement for you?
* bagaiev.kostiantyn6/1/2017, 5:41:59 AM
I can use existing one for now. I just need to prove that my money are legal
* davidgitman6/1/2017, 5:41:34 AM
And I will work on bonus
» davidgitman6/1/2017, 5:41:13 AM
What do you need in “bank agreement” ?
« bagaiev.kostiantyn6/1/2017, 5:40:39 AM
Or 5700 with bonus <ss type="smile">:)</ss>
+ bagaiev.kostiantyn6/1/2017, 5:40:28 AM
On NY it was 3700
+ bagaiev.kostiantyn6/1/2017, 5:40:17 AM

4200-4700 depends on days number

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davidgitman6/1/2017, 5:40:02 AM
Monthly?
bagaiev.kostiantyn6/1/2017, 5:39:55 AM

25/hour
davidgitman6/1/2017, 5:39:42 AM

What is your salary now?
bagaiev.kostiantyn6/1/2017, 5:22:58 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
<duration> 1008 </duration>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>1008</duration>
</part>

</partlist>

bagaiev.kostiantyn6/1/2017, 5:06:10 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn6/1/2017, 5:05:52 AM
No scary emails from lawyer yet
davidgitman6/1/2017, 5:05:49 AM

Ok

bagaiev.kostiantyn6/1/2017, 5:05:40 AM

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Trying to call.

« davidgitman6/1/2017, 5:05:40 AM
Can I call your mobile?

» bagaiev.kostiantyn6/1/2017, 5:05:34 AM
Something wrong with skype (

* davidgitman6/1/2017, 5:05:16 AM

<partlist type="ended" alt="">
<part identity="davidgitman">

<name>David Gitman</name>
</part>

</partlist>

« davidgitman6/1/2017, 5:05:14 AM

<partlist type="started" alt="">
<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

+ bagaiev.kostiantyn6/1/2017, 5:05:09 AM
Skype lags again
* bagaiev.kostiantyn6/1/2017, 5:04:53 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

+ bagaiev.kostiantyn6/1/2017, 5:04:53 AM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
</part>

</partlist>

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¢ davidgitman6/1/2017, 5:04:19 AM
<partlist type="ended" alt="">
<part identity="davidgitman">
<name>David Gitman</name>

</part>
</partlist>

* davidgitman6/1/2017, 5:04:19 AM
<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>
</partlist>
¢ davidgitman6/1/2017, 4:58:02 AM
Hey. What's up? Did you get a scary letter from a lawyer?
« bagaiev.kostiantyn6/1/2017, 1:28:47 AM
Hello Dave, can we talk?
¢ davidgitman5/31/2017, 4:31:15 PM
<ss type="yes">(y)</ss>
+ bagaiev.kostiantyn5/31/2017, 4:30:57 PM
Let's say no internet here in the evening.
+ davidgitman5/31/2017, 4:30:21 PM
Thanks
* bagaiev.kostiantyn5/31/2017, 4:30:16 PM
I see, Let's talk tomorrow. I'll ignore today
« davidgitman5/31/2017, 4:30:12 PM

I’m having a hard time not crying

- davidgitman5/31/2017, 4:30:03 PM

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I’m very emotional at the moment
+ davidgitman5/31/2017, 4:29:38 PM
I will support you but I don’t think it’s a good idea
. bagaiev.kostiantyn5/31/2017, 4:29:37 PM
Dave, please don’t talk so officially with me <ss type="smile">:)</ss>
« davidgitman5/31/2017, 4:29:18 PM
I strongly recommend not to talk with him
+ bagaiev.kostiantyn5/31/2017, 4:28:58 PM
I'll type him. I'll ask him to sort everything with you.
* davidgitman5/31/2017, 4:28:35 PM
Both
* davidgitman5/31/2017, 4:28:27 PM
I’m talking to the lawyer now.
. bagaiev.kostiantyn5/31/2017, 4:28:24 PM
You and Mike? Or you and I meet ?
- davidgitman5/31/2017, 4:28:10 PM
I would block him until we meet.
+ bagaiev.kostiantyn5/31/2017, 4:28:06 PM
What risks do we have if I'll call him ?
+ davidgitman5/31/2017, 4:27:41 PM
Yes, please
+ bagaiev.kostiantyn5/31/2017, 4:27:33 PM

Ok. So I should just ignore ?

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¢ davidgitman5/31/2017, 4:27:18 PM
I strongly recommend not to call him back until we meet.
« bagaiev.kostiantyn5/31/2017, 4:26:44 PM
In 10 minutes
« bagaiev.kostiantyn5/31/2017, 4:26:39 PM
Dave, I'll call him back and I'll ask not to involve me
- bagaiev.kostiantyn5/31/2017, 4:20:52 PM

On 5/31/17, at 10:07 PM, Mike Dash wrote:
> Ok please call me very importantidit:Dave, how should I react?

« bagaiev.kostiantyn5/31/2017, 3:09:00 AM

Hello Dave, how can I access my <a
href="mailto:konstantyn@channelreply.com">konstantyn@channelreply.com</a

> email?
» davidgitman5/30/2017, 3:17:46 PM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>129</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration> 130</duration>

</part>

</partlist>

« davidgitman5/30/2017, 3:15:31 PM

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

* bagaiev.kostiantyn5/27/2017, 5:14:15 PM

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<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>507</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>507</duration>

</part> .

</partlist>

» bagaiev.kostiantyn5/27/2017, 5:05:49 PM
<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name> Konstantyn</name>
</part>
<part identity="davidgitman">
<name>David Gitman</name>

</part>
</partlist>

* davidgitman5/27/2017, 5:58:42 AM
<ss type="yes">(y)</ss>

* bagaiev.kostiantyn5/27/2017, 5:58:08 AM
Right.

- bagaiev.kostiantyn5/27/2017, 5:57:56 AM

Take a rest. Maybe get some painkiller if rib hurts and take a rest. If you are in
countryside - go to swimming pool for relax.

+ davidgitman5/27/2017, 5:57:28 AM

It's 6 am. I now feel that I can sleep. Thanks for talking me down. Talk soon.

« davidgitmanS/27/2017, 5:56:45 AM
I still see them as little.

» bagaiev.kostiantyn5/27/2017, 5:56:25 AM

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It is not you old. It is girls are too big already
+ davidgitman5/27/2017, 5:56:13 AM

<ss type="laugh">:D</ss>
« bagaiev.kostiantyn5/27/2017, 5:56:00 AM

On 5/27/17, at 11:54 AM, David Gitman wrote:
> I‘d rather fight a bear over 12, 7 year olds.

I heard this <ss type="smile">:)</ss>
¢ davidgitman5/27/2017, 5:55:00 AM
<ss type="laugh">:D</ss>
¢ davidgitman5/27/2017, 5:54:38 AM
Shira had her 7th birthday party on Sunday at a bounce house place. The kids
jumped all over me. I got an x ray last night. It's fractured. Lesson learned. I’m
too old for bounce houses. And I ‘d rather fight a bear over 12, 7 year olds.
* bagaiev.kostiantyn5/27/2017, 5:54:06 AM
YOU didn’t tell that you broke it.
» bagaiev.kostiantyn5/27/2017, 5:53:56 AM
Sick
» bagaiev.kostiantyn5/27/2017, 5:53:54 AM
You mentioned that it hurts
» bagaiev.kostiantyn5/27/2017, 5:53:42 AM

As amateur poker player I can say that life is a set of possibilities <ss
type="smile">:)</ss>

* davidgitmanS/27/2017, 5:53:37 AM
Did I tell you I broke by rib?

» davidgitman5/27/2017, 5:53:26 AM

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I'm in pain
« davidgitman5/27/2017, 5:53:13 AM

It's a long weekend here. I'm in the country with the girls. I will focus on
enjoying that.

* bagaiev.kostiantyn5/27/2017, 5:52:33 AM

Tell me if you'll take a rest on Saturday - what possiblity that tomorrow you'll
find that something is ruined because of that?

- davidgitman5/27/2017, 5:52:28 AM
Thanks for talking to me about this.
» davidgitman5/27/2017, 5:52:13 AM
Agreed.
¢ bagaiev.kostiantyn5/27/2017, 5:51:54 AM
Nevertheless you should sleep. That will help more for these people
« bagaiev.kostiantyn5/27/2017, 5:51:34 AM
Agree. Got your position
« davidgitmanS/27/2017, 5:50:49 AM
They should be rewarded for that risk and hard work.
* davidgitmanS/27/2017, 5:50:36 AM
Who believed in me.
* davidgitman5/27/2017, 5:50:19 AM
It's about protecting the people who worked hard with me.

» bagaiev.kostiantyn5/27/2017, 5:49:54 AM

Also it is all about money, it is not about find what to eat and where to sleep.
And it is not about success of the project of your life. You can afford yourself to

sleep <ss type="smile">:)</ss>

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* davidgitman5/27/2017, 5:48:30 AM
I will try to rest.

* davidgitman5/27/2017, 5:48:16 AM

I know, often when I return to the terminal after taking a break I find a solution
within minutes

- bagaiev.kostiantyn5/27/2017, 5:47:26 AM
You'll find very easy and straight forward solutions to most of the problems
- bagaiev.kostiantyn5/27/2017, 5:47:01 AM
But that will help to solve most of the problems
¢ davidgitman5/27/2017, 5:46:55 AM
It helps to hear that from you.
¢ bagaiev.kostiantyn5/27/2017, 5:46:38 AM

I know it is easier to say for me than to implement for you<e_m
ts="1495878391" ts_ms="1495878391785" a="bagaiev.kostiantyn" t="61"/>

+ bagaiev.kostiantyn5/27/2017, 5:46:31 AM
I know it is easier to say for me that to implement for you

» bagaiev.kostiantyn5/27/2017, 5:46:10 AM

It's Saturday now. Just stop ruin yourself. Take nice bath and have some sleep.
Everything can wait 12 hours.

* davidgitman5/27/2017, 5:45:22 AM
I can't separate myself from my work.

- bagaiev.kostiantyn5/27/2017, 5:45:21 AM
That sucks Dave. You should break the circle.

+ davidgitmanS/27/2017, 5:45:04 AM

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No, I'm not sleeping at all
+ davidgitman5/27/2017, 5:44:44 AM
It first needs to be confirmed my the state.
* bagaiev.kostiantyn5/27/2017, 5:44:41 AM
Ok got that. -
¢ davidgitman5/27/2017, 5:44:31 AM
You should get a login to e sign it.
* bagaiev.kostiantyn5/27/2017, 5:44:21 AM
Not sleeping again?
¢ davidgitman5/27/2017, 5:44:19 AM
Hey
« davidgitman5/27/2017, 5:44:16 AM
No.
+ bagaiev.kostiantyn5/27/2017, 5:44:14 AM
Hi
» bagaiev.kostiantyn5/27/2017, 5:44:02 AM
Did you sent it by post?
« davidgitman5/26/2017, 9:16:45 PM
Lawyer filed the paperwork for your ownership. You'll see it in a few days.
+ davidgitmanS/26/2017, 1:18:54 PM
That helps
° bagaiev.kostiantyn5/26/2017, 1:01:36 PM

<a href="http://take.ms/GYODn" >http://take.ms/GYODn</a>

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. bagaiev kostiantyn5/26/2017, 1:01:03 PM
<a href="http://take.ms/awlu1">http://take.ms/awlul </a>
+ bagaiev.kostiantyn5/26/2017, 12:57:38 PM
Don’t see where to check. I have separate login
» davidgitman5/26/2017, 12:55:50 PM
K
« bagaiev.kostiantyn5/26/2017, 12:54:40 PM
Not sure. Give me a moment.
¢ davidgitman5/26/2017, 12:54:28 PM
<a href="mailto:paypal@ndap-lic.com">paypal@ndap-llc.com</a>?
* davidgitmanS/26/2017, 12:54:19 PM
Which PayPal account is for CR?
+ bagaiev.kostiantyn5/26/2017, 12:54:19 PM
You have account should be able to restore password
* bagaiev.kostiantyn5/26/2017, 12:54:02 PM
<a
href="https://monosnap.com/file/GMNpoUQtyTauPLRMyoLX49kJZRIiuA">https://
monosnap.com/file/GMNpoUQtyTauPLRMyoLX49kJZRIiuA</a>
¢ davidgitman5/26/2017, 12:52:53 PM
Thx
. davidgitmans/26/2017, 12:52:52 PM

I should be using <a
href="mailto:david@channelreply.com">david@channelreply.com</a>

¢ davidgitman5/26/2017, 12:52:49 PM

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I was using the wrong account

« bagaiev.kostiantyn5/26/2017, 12:51:49 PM
Yw

« davidgitman5/26/2017, 12:51:41 PM
Thx

* bagaiev.kostiantyn5/26/2017, 12:51:19 PM

<d

href="mailto:konstantyn@channelreply.com">konstantyn@channelreply.com</a_.
>iste!Dd9509367_

» davidgitman5/26/2017, 12:50:53 PM
Yes, please

* bagaiev.kostiantyn5/26/2017, 12:50:41 PM
Do you need credentials?

« bagaiev.kostiantyn5/26/2017, 12:49:59 PM
Yes

* davidgitman5/26/2017, 12:43:18 PM
Do you have access to stripe?

» bagaiev.kostiantyn5/26/2017, 12:27:34 PM
Ok

+ davidgitman5/26/2017, 12:27:24 PM
I’m talking to the lawyers now

¢ davidgitman5S/26/2017, 12:27:18 PM

Thanks

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bagaiev.kostiantyn5/26/2017, 12:27:13 PM

Dave, if you need any info from us. Any action, don’t hesitate to ask
bagaiev.kostiantyn5/26/2017, 12:25:03 PM

yes

davidgitman5/26/2017, 12:24:58 PM

Do you understand?

davidgitman5/26/2017, 12:24:55 PM

Do you have any questions?

davidgitman5/26/2017, 12:24:48 PM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>536</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>536</duration>

</part>

</partlist>

davidgitman5/26/2017, 12:15:47 PM

<partlist type="started" alt="">
<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

bagaiev.kostiantyn5/26/2017, 12:14:27 PM
<a
[a>

bagaiev.kostiantyn5/26/2017, 12:13:47 PM

href="http://www.appear.in/channelreply"> http://www.appear.in/channelreply<

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<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

+ bagaiev.kostiantyn5/26/2017, 12:13:39 PM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

¢ davidgitman5/26/2017, 12:13:03 PM

<partlist type="ended" alt="">

<part identity="davidgitman">

<name> David Gitman</name>
</part>

</partlist>

« davidgitmanS/26/2017, 12:13:03 PM

<partlist type="started" alt="">
<part identity="davidgitman">
<name> David Gitman</name>
</part>

</partlist>

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